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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

  MICHAEL PEARSON, ANDREW CHILDE, and
  ANNA SILVER on behalf of and solely in their
  capacities as Joint Official Liquidators of Diversified
  Real Estate Development Ltd (in Official Liquidation),
  GMS Global Market Step Up Note Ltd (in Official
  Liquidation), Preferred Income Collateralized Interest
  Ltd (in Official Liquidation), Sentinel Investment Fund
  SPC (in Official Liquidation), SG Strategic Income Ltd
  (in Official Liquidation), Sports Aficionados Ltd (in
  Official Liquidation), Vanguardia Group Inc. (in
  Official Liquidation), and MICHAEL PEARSON, on
  behalf of and solely in his capacity as Liquidator of
  Sentinel Mandate and Escrow Ltd. (in Liquidation),
  Vanguardia Holdings Ltd. (in Liquidation), Spyglass
  Investment Management Ltd. (in Liquidation), North
  Pointe Holdings (BVI) Ltd. (in Liquidation), Biscayne
  Capital Holdings Limited (in Creditor Voluntary
                                                            Civil Action No. ______________
  Liquidation), and Biscayne Capital (B.V.I.) Ltd. (in
  Liquidation),

         Plaintiffs,

         v.

  Deutsche Bank AG, Deutsche Bank AG (London
  Branch), Deutsche Bank Luxembourg S.A., Deutsche
  Bank AG (New York Branch), Deutsche Bank
  Switzerland, Deutsche Bank Trust Companies
  Americas,

         Defendants.


                                         COMPLAINT
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        Plaintiffs Michael Pearson, Andrew Childe, and Anna Silver (hereinafter the

 “Liquidators”), solely in their capacities as the Foreign Representatives and Joint Official

 Liquidators of various entities that are currently in official liquidation proceedings before the

 Grand Court of the Cayman Islands, and pursuant to appointments made in other jurisdictions,

 including the British Virgin Islands and Bermuda (collectively, the “Companies”), bring this action

 against Defendants and allege the following in support of their claims:

                                        INTRODUCTION

 1.     The Liquidators bring this action to recover damages from Defendants for their

 participation in a global fraud that resulted in hundreds of millions of dollars of investor losses,

 looting of the Companies on a massive scale, and the creation of staggering liabilities for the

 Companies.

 2.     Defendants were aware of the purposes and investment objectives for which the funds

 raised through this fraudulent scheme were supposed to be spent. Defendants also knew that little

 or none of the money raised through the scheme was actually used for those purposes and that

 instead, the funds were transferred to accounts in the names of other entities and individuals who

 had no legal right to these assets. Defendants, despite being aware of the actual use and diversion

 of innocent investor funds, perpetuated the fraud through numerous strategies designed to raise

 new money to repay liabilities to investors or to extend the maturity of pre-existing debt

 obligations. This prolonged the scheme’s duration and enabled theft on a massive scale in what

 Defendants knew or recklessly disregarded was a classic Ponzi scheme. Even worse,




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 3.     The principals of two entities—South Bay Holdings, LLC (“South Bay”) and Biscayne

 Capital International, LLC (“Biscayne”)—originated the scheme. The complaint refers to those

 principals—Roberto G. Cortes, Ernesto H. Weisson, Juan Carlos Cortes (Roberto’s brother), and

 Frank Chatburn—together, as the “Individual Wrongdoers.”

 4.     Others joined the Individual Wrongdoers in carrying out their scheme, including Gustavo

 Trujillo, Fernando Haberer, and Defendants.

 5.     To date, two people have pleaded guilty to federal criminal charges in connection with this

 scheme. United States v. Trujillo, 19-CR-00134 (E.D.N.Y.); United States v. Chatburn and Larrea,

 18-CR-20312 (S.D. Fla.). Other criminal cases and investigations are on-going.

 6.     South Bay, which was owned and controlled by the Individual Wrongdoers, purported to

 develop real estate in South Florida.

 7.     The Individual Wrongdoers formed another entity, Biscayne, to help raise capital for South

 Bay’s development activities.

 8.     The Individual Wrongdoers also created the Note Issuers (a subset of the Companies

 identified and defined below at ¶ 16), which were special purpose vehicles that issued and sold

 notes to investors claiming, falsely, that South Bay’s real estate assets were sound collateral for

 the notes.

 9.     In reality, the properties purportedly backing the notes were already heavily leveraged.

 Effectively, the notes were unsecured because there was no real collateral backing them.

 10.    If the real estate were not already so heavily encumbered, the investors would have

 achieved the lower investment risk they believed they were taking on by purchasing notes backed

 by valuable real estate under development. Instead, the Individual Wrongdoers misled the

 investors and induced them to purchase notes backed by worthless security interests in real estate.




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 11.    Rather than actually and primarily funding the development of real estate, the Individual

 Wrongdoers used the proceeds generated through the issuance of notes to offset losses in real estate

 investments; cover liabilities incurred by other, Biscayne-related entities; pay interest and principal

 on other notes; enrich themselves, their relatives and associates through looting and diversion of

 assets; and fund unrelated investments and entities that they never disclosed to the innocent

 investors.

 12.    When South Bay and Biscayne failed to generate revenue or cash to pay debt service

 obligations, the Individual Wrongdoers raised new funds by issuing more notes through the Note

 Issuers or by increasing the borrowing caps on note series from the Note Issuers.

 13.    Defendants, which were the primary bank for both Biscayne and the Companies, were

 aware of or turned a willfully blind eye to multiple indicia of fraud that occurred repeatedly over

 the course of their nearly six-year relationship with Biscayne and the Note Issuers, resulting in

 hundreds of millions of dollars in losses to the Note Issuers, the Companies, and those who

 invested in them.

 14.    Thus, although accomplished through a shifting and complex series of entities, the essence

 of the wrongdoing was simple—trick victims into investing money, divert the profits, and recruit

 new victims to continue and conceal the scheme. And it succeeded because the Defendants failed

 to do what the law and Defendants’ highly touted business model required.




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                                          THE PARTIES

 A.     The Liquidators

 15.    The Liquidators are the Foreign Representatives1 of the Companies. The Companies

 consist of:

        a.      Biscayne Capital (B.V.I.) Ltd. (in Liquidation)2 (“Biscayne Capital (B.V.I.)”);

        b.      Biscayne Capital Holdings Ltd (in Creditor Voluntary Liquidation) (“Biscayne

                Capital Holdings”);

        c.      Diversified Real Estate Development Ltd (in Official Liquidation) (“Diversified

                Real Estate”), formerly known as ORC Senior Secured Ltd. (“ORC”);

        d.      GMS Global Market Step Up Note Ltd (in Official Liquidation) (“Global Market

                Step Up”);

        e.      North Pointe Holdings (BVI) Ltd. (in Liquidation) (“North Pointe”);




 1
   This Complaint uses “Foreign Representative” as that term is defined in the United States
 Bankruptcy Code. A “foreign representative” is “a person or body, including a person or body
 appointed on an interim basis, authorized in a foreign proceeding to administer the
 reorganization or the liquidation of the debtor’s assets or affairs or to act as a representative of
 such foreign proceeding.” 11 U.S.C. § 101(24).
 2
   The identifiers “in Creditor Voluntary Liquidation,” “in Liquidation,” and “in Official
 Liquidation” reflect the nomenclature applied in the jurisdiction where each entity is domiciled.
 Biscayne Capital Holdings (in Creditor Voluntary Liquidation) is a Bermuda company. The
 entities in Liquidation—Biscayne Capital (BVI), North Pointe, Sentinel Mandate, Spyglass, and
 Vanguardia Holdings—are BVI companies. The entities in Official Liquidation—Diversified
 Real Estate, Global Market Step Up, Preferred Income, Sentinel Investment, SG Strategic, Sports
 Aficionados, and Vanguardia Group—are Cayman companies.

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        f.      Preferred Income Collateralized Interest Ltd (in Official Liquidation) (“Preferred

                Income”);

        g.      Sentinel Investment Fund SPC (in Official Liquidation) (“Sentinel Investment”);

        h.      Sentinel Mandate and Escrow Ltd. (in Liquidation) (“Sentinel Mandate”);

        i.      SG Strategic Income Ltd (in Official Liquidation) (“SG Strategic”);

        j.      Sports Aficionados Ltd (in Official Liquidation) (“Sports Aficionados”);

        k.      Spyglass Investment Management Ltd. (in Liquidation) (“Spyglass”);

        l.      Vanguardia Group Inc. (in Official Liquidation) (“Vanguardia Group”); and

        m.      Vanguardia Holdings Ltd. (in Liquidation) (“Vanguardia Holdings”).

 16.    Five of these Companies are the Note Issuers, which are each special purpose vehicles

 created to raise funds for the benefit of South Bay. The Note Issuers consist of:

        a.      Diversified Real Estate;

        b.      Global Market Step Up;

        c.      Preferred Income;

        d.      Sentinel Investment; and

        e.      SG Strategic.

 17.    A special purpose vehicle is an entity created to fulfill narrow, specific, or temporary

 objectives. While generally formed to serve the purposes of the entity creating them, special

 purpose vehicles are legally separate from—rather than a subsidiary of—their creators.

 18.    The chart below illustrates the general organizational structure and relationship of the

 Companies (including the Note Issuers) to each other:




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 19.    On July 4, 2018, SGG Management (BVI) Ltd. resigned as the director of four Note Issuers.

 This triggered a chain of events during the summer of 2018 that led to the appointment of the

 Liquidators and the decision to place the Companies and other, non-Plaintiff entities involved in

 the scheme into liquidation.

 20.    On November 2, 2018, the liquidation proceedings of the Companies domiciled in the

 Cayman Islands were placed under the supervision of the Grand Court of the Cayman Islands (the

 “Grand Court”).

 21.    Cayman law obligates the Liquidators to protect the interests and recover the assets of the

 Companies so that remaining assets may be properly distributed among the Companies’

 creditors—most notably, the innocent investors and victims of the Individual Wrongdoers’

 scheme.

 22.    As part of their roles, the Liquidators successfully sought leave from the Grand Court to

 obtain recognition of the Cayman Islands proceedings with the United States Bankruptcy Court.




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  23.      The Liquidators then directed counsel based in the United States to petition the United

  States Bankruptcy Court for the Southern District of Florida for recognition of the Cayman Island

  liquidation proceedings (“Cayman proceedings”) as foreign main proceedings under Chapter 15

  of Title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”).

  24.      On January 14, 2019, the United States Bankruptcy Court for the Southern District of

  Florida granted recognition of the Cayman proceedings as foreign main proceedings under Chapter

  15. The court determined that the Liquidators had demonstrated that they were the Companies’

  duly authorized Foreign Representatives, as defined in the Bankruptcy Code at 11 U.S.C.

  § 101(24).

  B.       Defendants

  25.      Deutsche Bank AG is a German global banking and financial services company with

  branches at 60 Wall Street, New York, NY, USA and 1 Great Winchester Street, EC2N 2DB

  London, Great Britain. Relevant to this Complaint, it has branches in—among other places—New

  York (“Deutsche Bank New York”) and London (“Deutsche Bank London”). Collectively, this

  complaint refers to Deutsche Bank AG and its branches in New York and London as “Deutsche

  Bank.”

  26.      The Defendants in this matter are Deutsche Bank (as defined above) and several of its

  subsidiaries:

           a.     Deutsche Bank Luxembourg S.A. (“Deutsche Bank Lux”) is located at 2,

                  Boulevard Konrad Adenauer, L-1115 Luxembourg, Luxembourg;

           b.     Deutsche Bank (Suisse) SA (“Deutsche Bank Suisse”) is located at Place des

                  Bergues 3, 1211 Geneva 1, Switzerland; and




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         c.     Deutsche Bank Trust Companies Americas (“Deutsche Bank Trust Companies”) is

                a New York corporation with a principal place of business located at 60 Wall Street,

                New York, New York.

  27.    The graphic below illustrates in broad fashion the relationships between and among the

  various Defendants.




  28.    As reflected in the graphic above, Deutsche Bank Trust, Deutsche Bank Suisse, and

  Deutsche Bank Lux are each owned by Deutsche Bank AG. Deutsche Bank Lux is directly and

  solely owned by Deutsche Bank AG, while Deutsche Bank Trust and Deutsche Bank Suisse are

  two among a number of Deutsche Bank AG’s wholly owned subsidiaries.

  29.    Deutsche Bank London and Deutsche Bank New York are simply branches of the parent

  company, Deutsche Bank AG.




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  30.    Notwithstanding Defendants’ operation through numerous legal entities and branches

  throughout the world, Defendants emphasize the integrated, cooperative innerworkings of their

  divisions, branches, and global offices in their regulatory filings.

  31.    For example, according to its 2014 Annual Review, Deutsche Bank positions itself as a

  “client-centric global universal bank” with a commitment to “putting . . . clients first” and

  “building a global network.”

  32.    Indeed, Deutsche Bank has described one of its core “[c]ompetencies” as “teamwork,

  including close collaboration across [the bank’s] corporate divisions and central functions.”

  33.    Deutsche Bank also touts its efforts to “align its organization more closely to its clients,”

  by, among other things, “deepen[ing] cross-divisional engagement with key clients.”

  34.    The bank encourages its personnel and divisions to “work[ ] closely and intensively

  together to deliver ‘One Bank’ to [its] clients” and views “cooperation [as] key to achieving [the

  bank’s] vision to be truly global.”

  35.    Because Defendants know that banks, and particularly financial institutions with

  cross-border and worldwide presence, provide a useful platform for money laundering and other

  fraudulent or criminal activities, Defendants maintain an “anti-money laundering program.”

  36.    According to Defendants, through their anti-money laundering program they “scrutinize

  clients and current transactions using meticulous procedures and an automated monitoring system

  through this compliance program.”

  37.    Defendants’ anti-money laundering program “appl[ies] worldwide to all business units of

  the bank, regardless of their location. All [of Defendants’] employees and senior managers are

  required to comply with [the program] to prevent [the bank’s] name or [its] products and services

  from being misused for money laundering purposes.”




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  38.    In addition, Defendants have a “Know Your Customer” or “KYC Program.”

  39.    According to Defendants:

         [Deutsche Bank] has implemented a strict group-wide KYC program to ensure all
         kinds of customers (natural or legal persons or legal structures, correspondent
         banks) are subject to adequate identification, risk rating and monitoring measures.
         This program has been implemented globally and throughout all business
         divisions[.]

         KYC includes not only knowing the clients and entities the Bank deals with (either
         as a single transaction or ongoing relationship), or renders services to, but also the
         Ultimate Beneficial Owners (UBOs), Legal Representatives and Authorised
         Signatories as appropriate.

         The program includes strict identification requirements, name screening procedures
         and the ongoing monitoring and regular review of all existing business
         relationships.

  40.    Notwithstanding Deutsche Bank’s claim to have and abide by state-of-the-art compliance

  programs, the bank and its subsidiaries have paid over $15 billion in civil penalties and criminal

  fines since 2002 for wide-ranging regulatory and criminal violations.

  41.    In 2017 alone, Deutsche Bank paid a $425 million fine for violations of New York’s

  anti-money laundering laws.

  42.    The Individual Wrongdoers’ scheme, and Deutsche Bank’s connection with it, has already

  sparked lawsuits in numerous jurisdictions across the United States and elsewhere. See, e.g.,

  Madison Asset LLC v. Deutsche Bank, 1:20-cv-10299-MKV (S.D.N.Y.); Deutsche Bank Trust Co.

  v. Rado Ltd. P’ship, 1:18-cv-06768-DLC (S.D.N.Y.); Insight Sec., Inc., v. Amicorp (BVI) Trs., 19-

  cv-06343 (N.D. Ill.); Insight Sec. Inc. v. Hinojosa, 6:19-ap-00323, (Bankr. M.D. Fla.); Insight Sec.

  Inc. v. Hinojosa, 1:18-cv-07572 (N.D. Ill); Insight Sec. Inc. v. Haberer et al., 19-cv-02836 (N.D.

  Ill); Alcivar et al. v. Biscayne Cap. Int’l, LLC et al., 2019-007503-CA-01 (Fla. Cir. Ct.); Lincuez

  et al. v. Cortes et al., 2020-0004163-CA-01 (Fla. Cir. Ct.); Romay et al. v. South Bay Holdings

  LLC et al., 2018-035014-CA-01 (Fla. Cir. Ct.); Cinnamon Cay, LLC et al. v. Inversora CRV Inv.



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  et al., 2016-0187660CA-01 (Fla. Cir. Ct.); Four Corners Investments et al. v. Weisson et al., 2019-

  003720-CA-23 (Fla. Cir. Ct.); Sentinel Investment Fund SPC v. Meza, 2021-000581-CA-01 (Fla.

  Cir. Ct.); Sentinel Investment Fund SPC v. Tapia Bermudez, 2021-000667-CA-01 (Fla. Cir. Ct.);

  GMS Global Market Step Up Note Ltd. v. Arkdale International Investments S.A. et al., 2021-

  000652-CA-01 (Fla. Cir. Ct); Sentinel Investment Fund SPC v. Cadena Huertas Fabiola Jakeline,

  2021-000606-CA-01 (Fla. Cir. Ct.); Sentinel Investment Funds SPC v. Uribe Santamaria, 2021-

  000543-CA-01 (Fla. Cir. Ct); Sentinel Mandate & Escrow Ltd. v. Compania Anonima Practicasa

  et al., 2021-000670-CA-01 (Fla. Cir. Ct.); GMS Global Market Step Up Note Ltd. v. Cornerstone

  Ventures Inc. et al., 2021-000509-CA-01 (Fla. Cir. Ct.); Sentinel Investment Fund SPC v. Denfield

  Investment Inc. et al., 2021-000674-CA-01 (Fla. Cir. Ct.); Preferred Income Collateralized

  Interest Ltd. et al. v. Dollamay Services Ltd. et al., 2021-000544-CA-01 (Fla. Cir. Ct.); Sentinel

  Investment Fund SPC v. Dugan Investment S.A. et al., 2021-000511-CA-01 (Fla. Cir. Ct.);

  Diversified Real Estate Development Ltd. v. Cepeda Vegas, 2021-000530-CA-01 (Fla. Cir. Ct.);

  GMS Global Market Step Up Note Ltd. v. Missale, 2021-00054-CA-01 (Fla. Cir. Ct.); Sentinel

  Investment Fund SPC v. Fajardo Lemoine Carlos Jose, 2021-000588-CA-01 (Fla. Cir. Ct.);

  Sentinel Investment Fund SPC v. Andrade, 2021-000542-CA-01 (Fla. Cir. Ct.); Sentinel

  Investment Fund SPC et al. v. Guillermo Jose Valery Davila, 2021-000586-CA-01 (Fla. Cir. Ct.);

  Sentinel Investment Fund SPC v. Horgan Investments Inc. et al., 2021-000513-CA-01 (Fla. Cir.

  Ct.); GMS Global Market Step Up Note Ltd. v. Suarez et al., 2021-000517-CA-01 (Fla. Cir. Ct.);

  Sentinel Investment Fund SPC v. Alarcon Repetto, 2021-000662-CA-01 (Fla. Cir. Ct.); GMS

  Global Market Step Up Note Ltd. v. Jose Luis Suarez Arosemena, 2021-000518-CA-01 (Fla. Cir.

  Ct.); Preferred Income Collateralized Interest Ltd. et al. v. Granadillo, 2021-000524-CA-01 (Fla.

  Cir. Ct.); Sentinel Mandate & Escrow Ltd. v. Krotona S.A. et al., 2021-000676-CA-01 (Fla. Cir.




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  Ct.); GMS Global Market Step Up Note Ltd. v. Luis Barona, 2021-000515-CA-01 (Fla. Cir. Ct.);

  Sentinel Investment Fund SPC v. Sandoval Cerda et al., 2021-000585-CA-01 (Fla. Cir. Ct.);

  Sentinel Investment Fund SPC v. Calvopina, 2021-000666-CA-01 (Fla. Cir. Ct.); Sentinel

  Investment Fund SPC v. Almeida Garcia, 2021-000514-CA-01 (Fla. Cir. Ct.); Sentinel Investment

  Fund SPC v. Almeida Garcia, 2021-000538-CA-01 (Fla. Cir. Ct.); Sentinel Investment Fund SPC

  v. Andrade Mora, 2021-000545-CA-01 (Fla. Cir. Ct.); Sentinel Investment Fund SPC v. Valencia

  Llerena, 2021-000582-CA-01 (Fla. Cir. Ct.); GMS Global Market Step Up Note Ltd. v.

  Whittembury, 2021-000525-CA-01 (Fla. Cir. Ct.); Sentinel Investment Fund SPC v. Garcia

  Gutierrez, 2021-000526-CA-01 (Fla. Cir. Ct.); Sentinel Investment Fund SPC v. Seagreen

  Shipping Marine Corp. et al., 2021-000541-CA-01 (Fla. Cir. Ct.); Diversified Real Estate

  Development Ltd. v. Cassidy Gonzales, 2021-000537-CA-01 (Fla. Cir. Ct.); Diversified Real

  Estate Development Ltd. v. Tyara Int’l Ltd. et al., 2021-000584-CA-01 (Fla. Cir. Ct.); GMS Global

  Market Step Up Note Ltd. v. V&B Int’l Consultants Ltd. et al., 2021-000527-CA (Fla. Cir. Ct.);

  GMS Global Market Step Up Note Ltd. v. Vernoia Group Ltd. et al., 2021-000528-CA-01 (Fla.

  Cir. Ct.); Sentinel Investment Fund SPC v. Brunetti, 2021-000663-CA-01 (Fla. Cir. Ct.); GMS

  Global Market Step Up Note Ltd. et al. v. Chinchilla et al., 2021-000539-CA-01 (Fla. Cir. Ct.).

                                 JURISDICTION AND VENUE

  43.    This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b)

  because this action relates to cases pending under title 11 of the United States Bankruptcy Code,

  specifically the Cayman proceedings that the United States Bankruptcy Court for the Southern

  District of Florida recognized as foreign main proceedings under section 101(24) of the

  Bankruptcy Code.




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  44.      Venue is proper in this Court pursuant to 28 U.S.C. § 1409 because this proceeding relates

  to the foreign main proceedings, which arise under title 11 and are pending in this Court.

  45.      Venue is also proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the

  events giving rise to this lawsuit occurred within the Southern District of Florida’s Miami Division.

  46.      This Court has personal jurisdiction over Defendants because they conspired with the

  Individual Wrongdoers to execute a scheme whereby the Individual Wrongdoers raised funds from

  investors through note issuances and then distributed the proceeds of those issuances to individuals

  and entities who were not entitled to the use of those proceeds. See FLA. STAT. § 48.193(1)(a).

  Defendants and the Individual Wrongdoers agreed, tacitly or otherwise, to participate in the

  fraudulent scheme. The Individual Wrongdoers resided in Florida at all times relevant to this

  Complaint. There, they committed multiple acts in furtherance of the conspiracy.

  47.      Deutsche Bank maintains an office in Jacksonville, Florida.

  48.      Deutsche Bank employees based in Jacksonville, Florida performed account services for

  Biscayne Capital. Deutsche Bank also provided securities services to Biscayne. As part of these

  services, Deutsche Bank employees repeatedly traveled to Miami and emailed and placed phone

  calls to senior Biscayne employees, including ones located in Florida. Deutsche Bank also

  provided Biscayne advice on mergers and acquisitions. Deutsche Bank rendered these advisory

  services by way of emails and phone calls to Biscayne employees based in Miami.

  49.      Deutsche Bank appointed a registered agent in Florida. That registered agent may be served

  with process as follows: CT Corporation System, 1200 South Pine Island Road, Plantation, FL

  33324.

  50.      Deutsche Bank Trust Companies employees based in Miami and otherwise in Miami

  provided wealth and asset management services to Biscayne.




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  51.    Deutsche Bank Trust Companies has a registered agent in Florida. That registered agent

  may also be served with process as follows: CT Corporation System, 1200 South Pine Island Road,

  Plantation, FL 33324.

  52.    Miami-based employees of Deutsche Bank Suisse and Deutsche Bank Trust Companies

  corresponded by way of email to provide asset and wealth management services to Biscayne and/or

  the Individual Wrongdoers. Deutsche Bank Suisse employees providing securities services to

  Biscayne corresponded with the Individual Wrongdoers and Biscayne employees via email to

  arrange meetings in the United States.

  53.    Deutsche Bank Lux served as the registrar for the Note Issuers. As the registrar for the

  Note Issuers, upon information and belief, Deutsche Bank Lux was in regular contact with

  individuals affiliated with Biscayne.

                                           BACKGROUND

  A.     The Individual Wrongdoers Began Their Fraudulent Scheme.

  54.    The Individual Wrongdoers held themselves out as brokers or investment advisors.

  55.    Two of them—Roberto G. Cortes and Ernesto H. Weisson—were the founders, principals,

  and initial beneficial owners of South Bay Holdings, LLC.

  56.    When it was founded in 1999, South Bay appears to have financed its operations for a time

  through commercial lenders.

  57.    Beginning in 2005, three of the Individual Wrongdoers—Weisson, Roberto Cortes, and

  Juan Carlos Cortes—formed and operated several non-United States investment advisory firms for

  high net-worth individuals.

  58.    In 2006 and 2007, South Bay attempted to expand significantly, including by acquiring

  real estate in South Florida and associated memberships at a resort in the Florida Keys.




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  59.    In 2008, the Individual Wrongdoers created their first United States-based, registered

  investment advisor, Biscayne. Biscayne was ostensibly formed to provide wealth management and

  investment advisory services, and its target client-base consisted mostly of individuals who reside

  in or are citizens of various Latin American countries. Biscayne had its headquarters in Miami,

  and South Bay was among the investments Biscayne marketed to its clients-investors.

  60.    Biscayne and South Bay were closely intertwined. Individual Wrongdoers Roberto Cortes

  and Weisson beneficially owned South Bay, and South Bay was the majority beneficial owner of

  Biscayne. The other two Individual Wrongdoers—Juan Carlos Cortes and Frank Chatburn—held

  minority interests in Biscayne.

  61.    Roberto Cortes served as Biscayne’s Chief Executive Officer and Juan Carlos Cortes as its

  Chief Compliance/Operations Officer. Weisson, Roberto Cortes, and Roberto C. Rueda—Roberto

  and Juan Carlos Cortes’s father—sat on Biscayne’s Board of Directors.

  62.    Biscayne had accounts with several banks, including Deutsche Bank, to manage client

  funds and assets.

  63.    By 2014, Defendants held the vast majority of the Companies’ assets, and most of those

  assets passed through one or more accounts at Deutsche Bank or other Defendants.

  64.    Under its arrangement with Deutsche Bank, investors (typically the note holders) owned

  the assets in the accounts, but Biscayne—as the investment advisor—had authority to manage the

  investments in the account by, among other things, buying and selling securities or transferring

  funds to an investor’s associated bank account.

  65.    The Individual Wrongdoers and other financial advisors working with them steered client

  funds into investments they preferred. Spyglass was initially the entity through which the




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  Individual Wrongdoers supposedly performed the investment advisor function for the Note

  Issuers.

  B.      The Individual Wrongdoers Begin Forming Special Purpose Vehicles to Raise More
          Capital.

  66.     In 2006 and 2007, the Individual Wrongdoers, who were adept at shielding themselves

  from liability using complex offshore business structures, began forming special purpose vehicles

  to raise additional capital.

  67.     While legally separate from Biscayne and South Bay, the special purpose vehicles, which

  were organized most often under Cayman Islands or British Virgin Islands law, created and offered

  securities—initially subscriptions for preferred shares in a segregated portfolio company, Sentinel

  Investment, and later in the form of tradeable notes issued by the other Note Issuers. Biscayne and

  the Individual Wrongdoers then encouraged their client-investors to purchase these securities.

  68.     Each special purpose vehicle was legally separate from Biscayne and South Bay but

  managed—and, in some cases, beneficially owned—by the Individual Wrongdoers. The

  Individual Wrongdoers caused the special purpose vehicles to prepare offering memoranda and

  raise capital by selling securities in the form of notes.

  69.     Sentinel Investment was created by the Individual Wrongdoers in 2006. Sentinel

  Investment was structured as a Cayman Islands investment fund, and as a result was subject to

  regulatory restrictions such as an annual audit requirement. The special purpose vehicles the

  Individual Wrongdoers formed later were not subject to this audit requirement.

  70.     In almost all instances, the stated purpose of raising these funds through the special purpose

  vehicles was to invest in South Bay’s real estate development while reducing South Bay’s risk.

  The special purpose vehicles’ securities typically promised to pay periodic interest.




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  71.    The Individual Wrongdoers persuaded investors to purchase securities from the special

  purpose vehicles.

  72.    The graphic below shows how money would have flowed if the investment structure

  operated the way the Individual Wrongdoers, Biscayne, and South Bay represented to consumers.




  73.    Biscayne benefitted tremendously when its client-investors purchased notes because one

  of its affiliates typically charged fees associated with the issuance as well. Investors thus paid

  Biscayne twice: its management fee and the fees paid to the affiliates.

  74.    In addition to being Biscayne’s majority beneficial owner, South Bay was also a holding

  company for other Biscayne entities. In this role, South Bay funneled millions of dollars to

  Biscayne to maintain its appearance as a legitimate and profitable investment advisory firm.



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  75.     The Individual Wrongdoers used Biscayne to steer their clients-investors’ funds into the

  special purpose vehicles. The special purpose vehicles, in turn, funded South Bay, and South Bay

  ostensibly funded real estate development while also funding Biscayne.

  76.     Financial statements and other corporate documents that should have been requested by a

  financial institution in due diligence revealed these relationships; however, the Individual

  Wrongdoers did not disclose them and went to great lengths to avoid disclosure of these obvious

  conflicts to their clients-investors.

  77.     In late 2008, the Great Recession drove the Individual Wrongdoers to intensify and expand

  their scheme.

  78.     The global financial crisis, which disrupted South Florida’s real estate market and caused

  development delays with the resort, left South Bay in a precarious situation.

  79.     Instead of sharing these hard truths with their investors, the Individual Wrongdoers

  expanded their fraudulent scheme.

  80.     Beginning in 2010 the Individual Wrongdoers formed more special purpose vehicles—

  including a number of the Note Issuers—and caused them to issue new securities and raise funds

  in order to pay interest to legacy investors.

  81.     More specifically, the Individual Wrongdoers created the following Note Issuers from

  2010 through 2013:

          a.      SG Strategic;

          b.      Diversified Real Estate;

          c.      Global Market Step Up; and

          d.      Preferred Income.




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  82.     This allowed the Individual Wrongdoers to cover their failures while perpetuating the

  scheme.

  83.     The Note Issuers played the same role in the scheme as the earlier special purpose vehicles.

  The Note Issuers transferred the money they raised from investors to South Bay. South Bay then

  paid interest payments or repaid earlier investors, thereby disguising its financial troubles.

  84.     The Individual Wrongdoers also relied on another of the Companies they created—

  Spyglass—to perpetuate the scheme. Spyglass, incorporated in the BVI, purported to be an

  investment advisor much like Biscayne.

  85.     The Individual Wrongdoers used Biscayne, Spyglass, and the Note Issuers to continually

  raise new money. These efforts concealed the failure of the real estate development and facilitated

  on-going misappropriation. The Individual Wrongdoers also used the notes to mask side deals and

  arrangements with preferred clients.

  86.     Obviously, no one disclosed to investors that their money would be funneled into this self-

  serving and corrupt scheme. Instead, the Individual Wrongdoers left new investors with the

  impression they were investing in a real project with prospects of success.

  87.     Further, the interrelated structure of the various business entities allowed the Individual

  Wrongdoers to avoid independent audit opinions.

  88.     The fraud lasted for nearly a decade. Although the original real estate development

  effectively failed during the Great Recession, the Note Issuers were utilized to raise more money

  for years thereafter.

  89.     By March 2012, the SEC had opened an inquiry into Biscayne Capital and several of the

  special purpose vehicles it created to raise funds.




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  C.     The Individual Wrongdoers Formed Madison Asset, LLC to Perpetuate The Scheme.

  90.    In part to avoid the eye of United States regulators, the Individual Wrongdoers directed the

  formation of Madison Asset, LLC (“Madison”) in January 2014 in the Cayman Islands.

  91.    Madison purported to serve as an investment advisor to the Note Issuers. However,

  Madison effectively took on the roles Biscayne and Spyglass had been previously playing in the

  scheme. Madison became the entity steering investors toward the Note Issuers to fund the scheme,

  enabling Biscayne and Spyglass to avoid further regulatory attention.

  92.    Roberto and Juan Carlos Cortes’s father, Roberto Rueda, was an initial beneficial owner

  and director of Madison.

  93.    Rueda instructed a Madison employee, Gustavo Trujillo, to open a custodian account for

  Madison through Deutsche Bank New York.

  94.    Gustavo Trujillo was Madison’s Operations Manager at the time of its formation. Although

  the Individual Wrongdoers continued to exert control over Madison, Trujillo became Madison’s

  beneficial owner in about 2015.

  95.    Trujillo used Madison as the Individual Wrongdoers directed: to effect transfers—

  including ones out of the Note Issuers’ custodial sub-accounts—and to otherwise conceal the

  scheme.

  96.    Trujillo operated Madison on a day-to-day basis. In this capacity, Trujillo opened a

  custodian account for Madison through Deutsche Bank.

  97.    Trujillo and Deutsche Bank set up accounts in Madison’s name with sub-accounts for a

  number of the Biscayne-related entities, including the Note Issuers and Companies.

  98.    Trujillo was ultimately charged with wire fraud and money laundering for his role in the

  scheme. By April 2019, he pleaded guilty.




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  99.    In total, Deutsche Bank—working with Trujillo—set up nearly three dozen sub-accounts

  for various Note Issuers, Companies, and other entities related to the Individual Wrongdoers and

  Biscayne.

  D.     Deutsche Bank Played an Essential Role in the Fraudulent Scheme.

  100.   Deutsche Bank allowed Madison to establish these sub-accounts for the Companies and

  Note Issuers without ever requiring proof of Madison’s authority to act on their behalf. In fact,

  Deutsche Bank did not seek to make the Note Issuers a party to a custodial agreement and failed

  to require proof that Madison was authorized to act as a custodian for the Note Issuers. Deutsche

  Bank required only a custody agreement signed between Deutsche Bank and Madison Asset LLC,

  Biscayne Capital Bahamas, and Biscayne Capital BVI.

  101.




  102.



  103.




  104.




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  105.




  (Emphasis added).

  106.




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  107.   All transfers made into, out of, and through the Madison sub-accounts were visible to

  Defendants.

  108.   Even a cursory review of the activity in these Madison sub-accounts reveals the obviously

  fraudulent and improper nature of the transactions.

  109.   For example, from April 18–30, 2016, $3.225 million was transferred out of a Global

  Market Step Up’s Deutsche Bank account to a Madison Deutsche Bank account. The chart below

  summarizes the fraudulent transactions that occurred from April 18–30, 2016.




  110.   Deutsche Bank had no documentation authorizing transfers between these entities, and

  Deutsche Bank knew that Madison was not an intended recipient of the proceeds of notes issued

  by Global Market Step Up.

  111.   Despite this knowledge of the unauthorized transfers, Deutsche Bank allowed millions of

  dollars to flow out of that Madison Account to the accounts of: other Note Issuers; a Madison

  account at another bank; other entities with no connection to Global Market Step Up or the

  intended recipients of the note proceeds; and individuals.

  112.   In short, none of these transfers went to the intended recipients of note proceeds, and

  though Deutsche Bank had all of this information, it did nothing with it.



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  113.    These transfers, over just twelve days in 2016, are not an exhaustive accounting of the

  scheme’s transfers. Instead, they are illustrative of numerous and frequent similar patterns of

  transfers that occurred with Deutsche Bank’s help over a period of years.

  114.    Defendants were either fully aware of the theft and other improper transfers these

  sub-accounts enabled, or Defendants turned a blind eye toward the conduct of the Individual

  Wrongdoers and Madison.

  115.    The Securities and Exchange Commission entered a public order on May 26, 2016, in

  which it found that Biscayne and the Individual Wrongdoers violated several federal securities

  laws.

  116.    As relevant here, the Commission found that Biscayne and the Individual Wrongdoers

  should have informed investors about the conflicts of interests created by the common beneficial

  ownership and effective control of Biscayne, South Bay, Spyglass, and certain Note Issuers—

  namely Sentinel Investment, SG Strategic, and Global Market Step Up.

  117.    The Commission also found that:

          a.     Chatburn failed to disclose the conflict of interest created by Biscayne’s

                 dependence on South Bay for financial support while South Bay’s financial

                 condition was precarious.

          b.     Roberto and Juan Carlos Cortes willfully aided and abetted and caused Biscayne to

                 make material misrepresentations in registration documents that were delivered to

                 clients.

  118.    The Commission determined that the failure to disclose these conflicts of interest

  constituted willful violations of Sections 206 and 207 of the Advisers Act.




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  119.   The Commission therefore imposed both monetary penalties and sanctions on Biscayne

  and the Individual Wrongdoers. The Commission ordered inter alia that Biscayne and the

  Individual Wrongdoers “cease and desist from committing or causing any violations and any future

  violations” of Sections 206 and 207 of the Advisers Act.

  120.   Even after the May 2016 SEC Order revealed the nature of the fraud, Defendants did not

  end their relationship with and facilitation of transactions for the Companies.

  121.   Though the cease-and-desist order apparently triggered a review at Deutsche Bank more

  intensive than anything that preceded it, Defendants nonetheless continued to facilitate the

  scheme. Deutsche Bank continued to facilitate the scheme by, among other things, restructuring

  notes to extend maturity and allowing payment in kind for interest in a manner inconsistent with

  relevant offering documents and without ever seeking or obtaining the required written consent

  of note holders.

  122.   Defendants terminated their relationships with Biscayne, Madison, the Companies, and

  related entities only in June 2017.

  123.   Weeks earlier, in May 2017, the Federal Reserve had entered an order fining Deutsche

  Bank for deficiencies in its Bank Secrecy Act and Anti-Money Laundering compliance and

  requiring it to, among other things, implement a more rigorous customer review and compliance

  system.

  124.   This temporal proximity indicates that, had Deutsche Bank undertaken an earlier review of

  its relationships with the Madison, the Companies, and Biscayne, it likely would have terminated

  its relationship with these entities and ended the Individual Wrongdoers’ fraud earlier.

  125.   Defendants’ misconduct in facilitating the fraud and allowing it to continue as long as it

  did renders them liable for breach of fiduciary duty, aiding and abetting breach of fiduciary duty,




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  aiding and abetting conversion, breach of contract, negligence, and several statutory causes of

  action.

  126.      As a direct and proximate result of Defendants’ misconduct, the Companies suffered

  significant damages.

  127.      Accordingly, the Liquidators bring this action against Defendants to recover the damages

  they caused, along with prejudgment interest, attorneys’ fees, and expenses of litigation.

    CONTRACTUAL AND OTHER RELATIONSHIPS BETWEEN DEFENDANTS AND
                          THE COMPANIES

  128.      Historically, the Individual Wrongdoers—specifically the Cortes brothers and their

  father—had a relationship with Deutsche Bank.

  129.      When the first of the Note Issuers, Sentinel Investment, began issuing securities—

  subscriptions for preferred shares—in 2009, Deutsche Bank was the issuing agent. This meant

  Deutsche Bank was responsible for distributing the securities and realizing the resulting profits for

  the benefit of Sentinel Investment.

  130.      As additional Note Issuers were created and began issuing their own notes, Deutsche Bank

  was—again—the issuing agent.

  131.      In June 2011, Deutsche Bank entered the first of a series of contractual relationships with

  the Note Issuers when it executed an Agency Agreement with SG Strategic as issuer and Deutsche

  Bank as issuing agent, principal paying agent, and transfer agent for the notes SG Strategic began

  offering in June 2011.

  132.      As the transfer agent, Deutsche Bank was responsible for issuing and canceling certificates

  showing note ownership, and as the principal paying agent, Deutsche Bank was responsible for

  accepting payments from the Note Issuers and distributing the funds to note holders.




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  133.   Per the terms of that Agency Agreement, Deutsche Bank Lux was the registrar. In that

  capacity, Deutsche Bank Lux was responsible for maintaining records of the name and other

  identifying information for each note holder.

  134.   South Bay’s involvement was known to Deutsche Bank from the beginning, because when

  SG Strategic created and began to issue its notes in June 2011, the notes’ offering documents

  expressly linked the notes to South Bay. Defendants would have been familiar thanks to their

  respective work with the Note Issuers.

  135.   Deutsche Bank followed its June 2011 Agency Agreement with SG Strategic with similar

  Agency Agreements with Global Market Step Up and Preferred Income.

  136.   Again, the terms of those Agency Agreements made Deutsche Bank the issuing agent,

  transfer agent, and principal paying agent for the notes Global Market Step Up and Preferred

  Income began offering in December 2011. And again, per the terms of those Agency Agreements,

  Deutsche Bank Lux was the registrar for the notes offered by both Note Issuers.

  137.   In setting up the notes issued in 2011, Deutsche Bank took its instructions from Individual

  Wrongdoer Juan Carlos Cortes.

  138.   To further facilitate its work, on December 15, 2011, Deutsche Bank entered a Multimarket

  Custody Agreement with Biscayne Capital Agent de Valores S.A. (“Biscayne Capital S.A.”), a

  Uruguayan company, through which that entity would provide custodial and trading services,

  including with respect to the Deutsche Bank accounts holding the Note Issuers’ notes.

  139.   Juan Carlos Cortes executed this agreement with Deutsche Bank on behalf of Biscayne

  Capital S.A., again leaving no doubt of the Individual Wrongdoers’ involvement in the issuance

  of these notes from the very beginning.




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  140.   By the time Deutsche Bank was issuing notes for Global Market Step Up, the Individual

  Wrongdoers’ roles were further reinforced. The offering documents for Global Market Step Up’s

  2014 notes identified Roberto Cortes as the investment advisor and disclosed that an entity owned

  by Individual Wrongdoers Ernesto Weisson, Roberto Cortes, and Juan Carlos Cortes, along with

  “a related individual” was Global Market Step Up’s sole shareholder.

  141.   As the scheme expanded and Madison assumed the role previously played by Biscayne and

  Spyglass, Defendants’ participation in the scheme only increased.

  142.   From 2014 to 2015, Madison transitioned the vast majority of Biscayne’s banking

  relationships to Deutsche Bank, and Madison retained control of these accounts.

  143.   In the same timeframe, Madison entered its own contractual relationships with Defendants

  and began establishing the Deutsche Bank sub-accounts for the Companies, including the Note

  Issuers.

  144.   On March 7, 2014, Deutsche Bank executed a Multi-Market Custody Agreement and

  agreed to a Direct Securities Services Fee Proposal with Madison.

  145.   Roberto Cortes Rueda—the father of Individual Wrongdoers Roberto and Juan Carlos

  Cortes—executed the March 7, 2014 agreement on behalf of Madison.

  146.   Though that agreement obligated Madison to provide a number of documents to Deutsche

  Bank, Deutsche Bank ultimately did not require Madison to provide all of the enumerated

  documentation. For example, Deutsche Bank did not require Madison to provide an anti-money

  laundering affidavit certifying the source of the accounts’ funds.

  147.   A number of steps in the process of transitioning the Madison and Biscayne Capital

  relationships to Deutsche Bank alerted Deutsche Bank to the connections among Madison,

  Biscayne and South Bay, and the Individual Wrongdoers.




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  148.   In the very first inquiry to Deutsche Bank about setting up the first of the Madison accounts,

  Trujillo told Deutsche Bank on March 3, 2014 that the account would be for “one of the entities

  related to Biscaynes [sic] group.”

  149.   On March 20, 2014, Deutsche Bank requested “source of wealth / CV and copy of passport

  for Roberto Cortes-Rueda.” In response, Trujillo on behalf of Madison requested that Deutsche

  Bank consider that Roberto Cortes Rueda was also a director and shareholder at Biscayne and that

  his prior due diligence should be on file.

  150.   The connection among the Individual Wrongdoers and the entities with which Defendants

  dealt was reinforced numerous times over the years that the fraud continued.

              DEFENDANTS’ ROLE AND PARTICIPATION IN THE SCHEME

  151.   Defendants’ wrongdoing can be divided into two broad categories: First, they allowed the

  Note Issuers to avoid certain debt service obligations. Second, they failed to investigate or turned

  a blind eye toward transactions and relationships of which they were actually aware and that would

  have revealed the Individual Wrongdoers’ fraudulent scheme years before it collapsed on its own.

  152.   Multiple times and through multiple means, Defendants assisted agents purporting to act

  on behalf of the Companies, ultimately allowing the agents to avoid significant pending cash

  maturity obligations to the investors who held their notes.

  153.   Avoiding these debt obligations allowed the Individual Wrongdoers to raise additional

  funds for their scheme.

  154.   As detailed below, Defendants’ role and participation in this aspect of the scheme took

  several forms, including swap transactions that modified note terms and allowed payments-in-kind

  contrary to offering documents and investment objectives, re-tapping notes to cover maturing debt

  obligations (that is, issuing new notes to repay old ones), and late interest payments.




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  155.   As also detailed below, Defendants’ failure to investigate was similarly multifaceted and

  spanned Defendants’ relationships with Biscayne, South Bay, and ultimately Defendants’

  relationship with Madison and Madison’s relationship with the Companies.

  156.   Likewise, Defendants failed to follow their own anti-money laundering program and

  “Know Your Customer” rules, the adherence to which would have revealed the relationships

  between and among the Companies, Madison, Biscayne, South Bay, and the Individual

  Wrongdoers.

  157.   Compliance with Defendants’ own policies would have revealed the fraud and required

  Defendants to terminate their relationship with the Companies and Madison earlier—or to have

  prohibited Madison from opening the sub-accounts on the Companies’ behalf in the first instance.

  A.     The Swap Transactions

  158.   Defendants facilitated a series of at least three “swap transactions” in the five-month span

  from October 2013 to March 2014, through which they enabled the Individual Wrongdoers to

  avoid pending maturity obligations and thereby assisted the Individual Wrongdoers in their

  fraudulent scheme.

  159.   In these transactions, one entity managed by the Individual Wrongdoers would acquire the

  majority of a Note Issuer’s outstanding notes just before a maturity obligation would have required

  the Note Issuer to pay interest and other remuneration to its note holders, thereby “swapping” or

  trading the right to receive those payments from one note holder to another.

  160.   The Note Issuers’ offering documents—which Defendants had before they effectuated any

  of the swap transactions—describe how the Note Issuers should have generated revenue to cover

  these pending cash maturities.




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  161.     More specifically, the offering documents explained that the Note Issuers would apply

  proceeds from the issuance of notes to investments, primarily investments in South Bay in

  exchange for interests in the real estate South Bay developed and—ultimately—would market and

  sell.

  162.     Mortgages on the South Bay properties ostensibly backed the notes issued by the Note

  Issuers, and South Bay was to satisfy its obligations to the Note Issuers arising from those

  mortgages with profits generated on its real estate projects.

  163.     The Note Issuers, in turn, should have used that revenue to pay interest and dividend

  obligations to the investors who purchased the notes.

  164.     Between October 2013 and March 2014, three of the Note Issuers—SG Strategic, Preferred

  Income, and Global Market Step Up—faced pending note maturity obligations totaling

  $31,650,000.00.

  165.     That is, however, not what happened. Defendants facilitated swap transactions on at least

  three separate occasions, and each transaction shared at least four attributes that departed from the

  legally appropriate course charted in the offering documents and set out above.

  166.     First, one of the Note Issuers would face a pending cash maturity, requiring it to pay

  interest or dividends to note holders on a certain maturation date.

  167.     Second, shortly prior to or even after the maturity date, a second, ultimately South

  Bay-related entity (“the acquiring entity”) would acquire a substantial majority of the maturing

  notes.




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  168.     Third, in each of these transactions, Herman Oosten, the individual at SGG who filled the

  role of “Director” for each Note Issuer,3 would send Deutsche Bank a nearly identical email on

  behalf of the acquiring entity, announcing that the acquiring entity had acquired a substantial

  majority of the maturing notes. The acquiring entity would then—in the same email—renounce its

  right to receive cash payments on the maturing notes.

  169.     This renunciation of cash payment was inconsistent with the investment objectives of the

  acquiring entities, inconsistent with the offering documents of the Note Issuers, and not

  contemplated by the Agency Agreement between Deutsche Bank and the Note Issuers. The

  contents of each of these documents were known to Defendants.

  170.     Fourth, Defendants accepted these representations and instructions and did not require the

  Note Issuer who had issued the notes in the first instance to make a cash payment, instead allowing

  the Individual Wrongdoers to avoid the payment owed by the Note Issuer that they were unable to

  cover.

  171.     In explaining the first swap transaction, Juan Carlos Cortes wrote:

           The notes issued by SG mature on October 31, 2013 for principal of $22MM.
           However, we have arranged a private exchange with over 95% of all note holders
           to roll over the investment for another 2 years, at a lower rate, through a new
           different SPV (same structure as SG, but different, improved terms for the
           investor). So its an upgrade. The new SPV is today, the holder of 95% of all
           outstanding and issued noted by SG. So technically, Deutsche Bank should arrange
           payment of principal to the new SPV. However, we do not want an organic
           payment. We will settle for an offset or payment in kind. I want to communicate
           this to Deutsche Bank, before maturity date.

  172.     This, however, is not what happened. Nearly a year later, Trujillo described

  what actually transpired:



  3
    For the Note Issuers created in 2010 and thereafter, SGG was the Director, but Oosten is the
  individual who controlled SGG’s actions in that regard and to whom notice and communications
  to the Director were supposed to be sent.

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              1. ORC Senior Secured Limited issues ORC note Series II and raises funds from
                 investors
              2. SBH issues Master Promissory note to ORC Series II
              3. Per promissory note, those funds raised by the issuance of the note, were to be
                 sent to SBH
              4. Instead, SBH instructs ORC to buy back 99% of the outstanding of SG Strategic
                 Series I Note (no formal documentation, please advise procedure)
              5. ORC being the new noteholder/beneficiary of SG, renounces to any capital +
                 interest at maturity (see swift renunciation sent to DB, paying agent)

         i.       The First Swap Transaction

  173.        Defendants facilitated the first swap transaction in October 2013, allowing Note Issuer SG

  Strategic to avoid a pending maturity obligation worth millions of dollars.

  174.        In total, SG Strategic had $23,057,375.00 due and payable to its Note Holders no later than

  October 31, 2013.

  175.        To avoid having to make over $23 million in cash payments, SG Strategic’s director sent

  an email to John Woodger, a Deutsche Bank employee, in which the director notified Deutsche

  Bank that of the $23,057,375.00 payable to SG Strategic’s note holders, $22,157,575.00 was due

  to acquiring entity Diversified Real Estate, also a Note Issuer, and that Diversified Real Estate was

  declaring it had received payment in kind to its satisfaction.

  176.        Defendants knew that Diversified Real Estate was a Biscayne-related entity based on the

  Agency Agreement with Diversified Real Estate.

  177.        In that same email, the director instructed Deutsche Bank that, as the paying agent,

  Deutsche Bank should not make any payment to Diversified Real Estate (referred to by its former

  name, “ORC”):




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  178.   The director’s email was sent on October 30th at 8:33 PM—the night before the payment

  was due.

  179.   Defendants knew that renunciation of cash payment and acceptance of payment in kind

  was inconsistent with the investment objectives of the acquiring entity, Diversified Real Estate.

  180.   For example, Diversified Real Estate’s August 2013 offering memorandum, which

  Deutsche Bank possessed and with which Deutsche Bank was familiar, described how Diversified

  Real Estate would use proceeds to “invest in South Bay in exchange for interests in South Bay.”

  South Bay would, in turn, use the proceeds of those investments “for its working capital needs and

  to construct, market and sell the South Bay Properties.”

  181.   Diversified Real Estate’s acceptance of payment in kind did not enable Diversified Real

  Estate to contribute to South Bay’s working capital needs, nor did acceptance of payment in kind

  allow Diversified Real Estate to re-pay those who had invested in it.

  182.   Additionally, the Agency Agreement between Deutsche Bank and SG Strategic—like

  those between Deutsche Bank and the other Note Issuers—did not contemplate payment in kind,


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  rather than cash payments, to satisfy note obligations. Specifically, the Agency Agreement

  specified that payment “shall be” made “unconditionally by credit transfer in the payment currency

  and … freely transferable cleared funds.”

  183.    Deutsche Bank unquestioningly followed the instructions it received, despite knowing that

  the renunciation of cash payment was inconsistent with the acquiring entity’s investment

  objectives, despite knowing that this type of transaction was not contemplated by the Agency

  Agreements between Deutsche Bank and the Note Issuers, and despite knowing that this would

  allow SG Strategic to avoid over $22 million in cash payments due.

  184.    Deutsche Bank’s participation enabled the Individual Wrongdoers to avoid making

  payments due to the investors who held those notes and facilitated the Individual Wrongdoers’

  continuing scheme.

          ii.    The Second Swap Transaction

  185.    Just a few weeks later, in December of 2013, Deutsche Bank facilitated a second swap

  transaction, allowing another Note Issuer (Preferred Income) to avoid a pending maturity

  obligation worth millions of dollars even after the obligation was due.

  186.    This time, Preferred Income was facing a $5,918,250.00 payment due on November 30,

  2013.

  187.    To avoid that cash outflow, the Individual Wrongdoers orchestrated a scheme in which

  Note Issuer Diversified Real Estate acquired $4,705,261.67—about 79%—of the outstanding and

  maturing Preferred Income notes.

  188.    After accumulating 79% of the outstanding and maturing Preferred Income notes, the

  Individual Wrongdoers had Diversified Real Estate waive cash payment on the amount due.




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  189.   Once again, to complete this transaction, the director sent an email to Deutsche Bank nearly

  identical to the one sent to explain the earlier swap transaction.

  190.   In the email, the director notified Deutsche Bank that of the $5,918,250.00 due,

  $4,705,261.67 was due to Diversified Real Estate and that Diversified Real Estate had received

  payment in kind to its full satisfaction.

  191.   The director then instructed Deutsche Bank that, as the paying agent, Deutsche Bank

  should not make any payment to Diversified Real Estate, again referred to here by its former name,

  ORC:




  192.   The director’s email was sent on December 2, 2013 even though the payment was due on

  November 30th.

  193.   Even with this transaction, which allowed Preferred Income to avoid a majority of its

  obligation, Preferred Income still did not have enough funds to cover the remaining payment due—

  $504,821.67.




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  194.   Deutsche Bank, of course, knew that Preferred Income did not cover the remaining amount

  due. A Deutsche Bank employee replied to the director’s email stating that Deutsche Bank had yet

  to receive the $504,821.67 necessary to pay the remaining note holders.

  195.   Still, Deutsche Bank complied with the director’s instructions, despite knowing that the

  renunciation of cash payment was inconsistent with the investment objectives of the acquiring

  entity Diversified Real Estate, despite knowing that only weeks prior, another Note Issuer used the

  same type of transaction to avoid almost $23 million in payments due, despite knowing that there

  were insufficient funds to cover the remaining payments, and despite knowing that this transaction

  would result in the avoidance of yet another multi-million dollar obligation for yet another

  associated Note Issuer.

  196.   Deutsche Bank’s participation once again enabled the Individual Wrongdoers to avoid

  payments due and facilitated their continuing scheme.

         iii.    The Third Swap Transaction

  197.   Deutsche Bank facilitated yet another swap transaction in February 2014. This transaction

  allowed Global Market Step Up to avoid significant pending cash maturity obligations.

  198.   This time, the principal amount due on the maturing note was $3,250,000.00, to be paid no

  later than March 20, 2014.

  199.   Once again, the director sent an email to Deutsche Bank nearly identical to those sent to

  explain the previous two swap transactions.

  200.   In this email, the director notified Deutsche Bank that the acquiring entity Sentinel

  Mandate—also a Company—was the sole holder of the entirety of the maturing Global Market

  Step Up notes and that Sentinel Mandate had received payment to its full satisfaction.




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  201.   The director then instructed Deutsche Bank that, as the paying agent, Deutsche Bank

  should not make any payment to Sentinel Mandate:




  202.   Acceptance of payment in kind was inconsistent with the investment of objective of the

  acquiring entity Sentinel Mandate, which was to invest in Sentinel Investment Fund, and its

  obligation to pay investors a quarterly coupon and the redemption of the principal amounts on the

  maturity date—terms which were known to Deutsche Bank.

  203.   Once again, Deutsche Bank unquestioningly followed this instruction despite knowing that

  the renunciation of cash payment was inconsistent with the investment objectives of the acquiring

  entity Sentinel Mandate, despite knowing that the Agency Agreements between Deutsche Bank

  and Global Market Step Up did not contemplate this type of transaction, and despite knowing that

  the Note Issuers engaged in two other, nearly identical transactions within just a few months to

  avoid other pending maturity obligations.

  204.   In all three of these transactions, Deutsche Bank knew that the entirety—or a substantial

  majority—of the payment due was being waived.

  205.   In at least one of the transactions Deutsche Bank was aware that it had not received the

  payment necessary from the Note Issuer to pay the remaining note holders.


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  206.   Deutsche Bank knew that all of these transactions were performed shortly before or even

  after the payment obligation matured.

  207.   The timing, frequency, nature, and the effect of these transactions—the avoidance of tens

  of millions of dollars in payments due—confirmed that the Note Issuers were unable to meet

  financial obligations and continue as going concerns. Facilitation of these transactions was just

  one of the many ways Deutsche Bank had notice of and participated in the Individual Wrongdoer’s

  scheme.

  B.     Re-Tapping of Notes by Note Issuers

  208.   A “re-tap” is a process by which a security-issuing entity raises money by selling securities

  that the issuer previously authorized but were held back. Although re-tapping is a common way to

  raise money, it can also be a sign of fraud because it defers making required cash payments.

  209.   Here, re-tapping was an indicator of fraud because the Individual Wrongdoers repeatedly

  worked with Defendants to re-tap the notes for the purpose of paying existing debt on previously

  issued notes, instead of using money raised for legitimate investment or business purposes.

  210.   The Individual Wrongdoers “re-tapped” notes, that is, issued new notes through Deutsche

  Bank to pay interest due on existing notes, in non-round number dollar amounts, just sufficient to

  make payments due on existing notes and days before principal and/or interest payments on those

  notes came due.

  211.   Further, the re-tapping bore no discernible connection to cash requirements of the real

  estate project they ostensibly supported, as opposed to the obligations on the existing notes.

  Though offering documents explained that note proceeds would be used to invest in South Bay,

  contributing to South Bay’s “working capital needs” and enabling it “to construct, market and sell




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  South Bay properties,” the timing of the re-tapping transactions was often linked to maturing debt

  obligations—including at regular quarterly intervals.

  212.        This pattern of re-taps lining up with payment obligations at regular, generally quarterly,

  intervals was not consistent with the kinds of cash and capital needs typically seen in real estate

  development projects, where cash requirements are linked to construction stages that generally do

  not come and go at regularly spaced intervals. Additionally, these cash requirements would not

  consistently correspond to the debt service obligations of the Note Issuers’ pre-existing notes.

  213.        There were 325 re-tapping transactions in all, ranging from roughly $1,000 to as much as

  $15,000,000, for a total of approximately $250,000,000. Many of these amounts were in non-round

  or unusual dollar sums and were raised within days of payments becoming due.

  214.        The volume of re-tapping—in both dollar amount and number of transactions—was

  unusually high and the quarterly timing, again, bore no connection to the typical needs of a real

  estate project. Yet Deutsche Bank did not question the re-taps’ timing or purpose.

  215.        Based on their nature, volume, and timing, Deutsche Bank should have understood these

  re-taps were intended to raise funds to pay interest on existing debt and/or to repay other notes

  previously issued by the Note Issuers.

  216.        Deutsche Bank facilitated the re-tapping of the notes and, in so doing, the underlying

  scheme.

         i.          SG Strategic Note Re-Taps

  217.        The series of SG Strategic note re-taps described and illustrated in the charts below are

  representative of how the Individual Wrongdoers, with the assistance of Deutsche Bank, used

  re-taps to perpetuate their scheme.




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  218.   As shown immediately below, SG Strategic owed an interest obligation no later than

  December 31, 2012.




  219.   Just before that obligation came due, the Individual Wrongdoers with the assistance of

  Deutsche Bank executed a re-tap in a non-round dollar amount, receiving an additional $74,637.00.

  220.   Only seven days later, on December 27, 2012, the Individual Wrongdoers made a payment

  covering interest and associated fees, through Deutsche Bank, in the amount of $74,622.72.




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  221.   This payment amount was within $15.00 of the re-tap issued by Deutsche Bank just seven

  days before.

  222.   The same cycle of re-taps in non-round dollar amounts, just sufficient to cover interest and

  fees obligations and made just days before those quarterly obligations came due, repeated for this

  very same Note Issuer in the next 5 quarters—through March 2014.

  223.   For example, SG Strategic owed an interest payment on March 31, 2013.




  224.   Eleven days before that payment was due, the Individual Wrongdoers once again re-tapped

  the SG Strategic note, and Deutsche Bank, as the issuing institution, authorized a re-tap in another

  non-round dollar amount—$75,221.00.

  225.   Only one day later, on March 21, 2013, the Individual Wrongdoers made an interest

  payment in almost the exact amount required to cover the next pending interest payment plus

  associated fees—a total amount of $75,215.34.




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  226.   This time, the payment was within $6.00 of the re-tap amount authorized the day before.

  227.   Again, this pattern repeated four more times over the next year. Deutsche Bank continued

  to assist the Individual Wrongdoers in re-tapping the notes in an amount just sufficient to cover

  the next pending interest payment and associated fees, just days before the payment was made

  through Deutsche Bank.

  228.   Deutsche Bank authorized the June 2013 re-tap of $75,813.00, for example, just one day

  before it received an interest and fee payment of $75,812.67, leaving a difference of just $0.33

  between the re-tap Deutsche Bank authorized one day and the payment it accepted the next day.




  229.   The three re-taps that followed, in the third and fourth quarters of 2013 and the first quarter

  of 2014, were, respectively, $76,401.00, $76,997.00, and $77,599.00. Respectively, these amounts

  were within $4.00, $4.92, and $4.50 of the interest and fee payments made. Deutsche Bank

  accepted the payments for the last two quarters of 2013 on the very same day as the re-taps, and

  Deutsche Bank authorized the March 2014 re-tap within a day of accepting the interest payment.


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  C.     Late Payments by Note Issuers

  230.   Even with the transactions and modifications described above, there were still repeated late

  interest payments, after which Deutsche Bank did not provide the contractually required notice to

  Note Issuers and their director.

  231.   According to Section 4.1 of the Agency Agreements, “the Issuer shall pay to the Principal

  Paying Agent at least one Business Day before [] each date on which such payment in respect of

  the Notes becomes due ….”

  232.   Because Deutsche Bank served as the Principal Paying Agent for the Note Issuers, this

  meant that the Note Issuers were to pay Deutsche Bank at least one business day before interest

  and other payments on notes came due.




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  233.   At least 21 times from May 2014 through March 2017, Deutsche Bank accepted quarterly

  interest payments late. The pattern of late payments began as early as May 2014 and continued

  through March 2017.

  234.   Further, late payments were either unexplained or attributed to factors—including blaming

  another Deutsche Bank branch for delays—that should have led Deutsche Bank to conduct further

  investigation.

  235.   For example, on March 31, 2016, the late payments became so much of a concern that Paul

  Yetton of Deutsche Bank London emailed Trujillo (but not the Note Issuer’s director as required)

  asking if there was “a larger problem here as we[’]re not just talking about one amount?”

  236.   That same day, Trujillo responded to Yetton’s—and by extension, Deutsche Bank’s—

  concern by writing that the payments were late because all the Note Issuers were using the “same

  bank”, and that the bank was having “operational issues” that should be resolved by the following

  day.

  237.   Deutsche Bank knew that this was not true for at least three reasons.

  238.   First, Deutsche Bank knew that the “same bank” Trujillo was referring to was Deutsche

  Bank itself. In fact, Deutsche Bank had assisted in opening the sub-accounts from which payments

  would be made for the three Note Issuers whose payments were at issue.

  239.   Second, if having set up the sub-accounts were not enough to alert Deutsche Bank to the

  fact that its accounts were the only ones Trujillo could have been referring to, the SWIFT

  confirmation Trujillo sent Yetton on April 1, 2016—showing SG Strategic’s overdue payment had

  been ordered—also alerted Yetton to the fact that Deutsche Bank was on both sides of these

  transactions.




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  240.    The SWIFT confirmation below shows that Deutsche Bank New York was the originating

  branch for the transfers, Deutsche Bank Trust was the intermediary (as shown at line 56D), and

  Deutsche Bank London was the receiving branch (as shown at line 57D).




  241.    Third, although Trujillo told Yetton that the late payment from the Note Issuers was due to

  a common issue that should be resolved by the following day, Trujillo forwarded only one SWIFT

  confirmation the following day, the above SWIFT confirmation, instead of the multiple

  confirmations one would expect if they were all delayed by a common issue.

  242.    In fact, even on this occasion—when all the payments were late because of an issue

  purportedly common to all the Note Issuers and their shared bank—the remaining payments were

  not made until days later.

  243.    Despite Yetton’s concern that late payments were due to a “larger problem,” Deutsche

  Bank London allowed the pattern of late payments, and therefore the fraud, to continue through

  2017.



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  244.    For example, in a 2017 email exchange regarding interest payments due February 28, 2017,

  related to notes issued by the entity later known as Diversified Real Estate, Deutsche Bank London

  sent an initial notification on February 23 to Trujillo and others at Biscayne and Vanguardia

  Holdings. Deutsche Bank then followed up on February 27, February 28, March 1, March 2, March

  3, March 6, and March 8.

  245.    On March 1, 2017, Deutsche Bank included the director, SGG Group, on its notifications

  regarding the payment for the first time.

  246.    Deutsche Bank London finally received a response on March 8, 2017 from the director

  which simply said, “Apologies for the delay. We will revert to your email below as soon as

  possible.”

  247.    Deutsche Bank London allowed the payment to remain outstanding and did not receive the

  required confirmation until March 21, 2017—26 days after sending their initial notification, and

  21 days after the payment’s due date.

  248.    Not only did Deutsche Bank repeatedly accept late payments—and do so without

  satisfactory explanation or any explanation at all—Deutsche Bank also failed to provide the

  contractually required notice to the Note Issuers and their director when payments were late.

  249.    According to Section 4.3 of the Agency Agreements, if any payment was late, Deutsche

  Bank was to “notify by electronic mail or fax each of the other Agents and the Issuer if it has not

  received the amount … by the time specified for its receipt, unless it is satisfied that it will receive

  such amount.”

  250.    Despite knowing that notice should be given to the Note Issuers, notice was instead

  communicated to Trujillo, who had no documented connection to the Note Issuers and who

  Defendants knew was acting on behalf of Madison.




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  251.   The late note payments were numerous and persistent—another clear indicator of

  underlying fraud. Deutsche Bank knew that the Note Issuers frequently breached their Agency

  Agreement by making late payments, knew of the connection between the Note Issuers and the

  Individual Wrongdoers, and yet continued to work with the Individual Wrongdoers, assisting them

  in the underlying scheme.

  252.   Finally, not only did Deutsche Bank knowingly allow the Individual Wrongdoers to

  persistently make late interest payments, but Deutsche Bank also knew that the Individual

  Wrongdoers consistently employed the strategies described above to make interest payments

  through the issuance of new debt or the alteration of other note terms instead of through cash

  payments.

  253.   For example, on February 26, 2016, Diversified Real Estate made an interest payment from

  its Deutsche Bank account of $1,251,562.50. This payment was primarily funded by a transfer of

  $1,200,000 from the Global Market Step Up account, also a Deutsche Bank account.

  254.   Deutsche Bank knew of the persistent issue of late interest payments, knew that the

  Individual Wrongdoers used cross trades to fund interest payments, yet continued to work with the

  Individual Wrongdoers.

  D.     Other Modifications of Notes’ Terms

  255.   Deutsche Bank repeatedly extended maturity dates, increased issue caps, and otherwise

  modified terms of the notes. This facilitated and perpetuated the fraud by allowing the Individual

  Wrongdoers additional avenues to avoid repaying investors with anything other than additional

  money borrowed from those same investors or new ones.




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  256.   For example, in 2017—over a year after the entry of the SEC order—Deutsche Bank

  assisted the Individual Wrongdoers in amending the terms of the notes to include an option to

  extend maturity on the notes for up to five years.

  257.   Deutsche Bank also repeatedly facilitated the extension of maturity dates on notes even

  before assisting the Individual Wrongdoers with the 2017 change in terms. Indeed, Paul Yetton of

  Deutsche Bank effectively guided Trujillo through this process.

  258.   For example, on November 5, 2014, just days before the initial maturity date of November

  30, 2014, Deutsche Bank received instructions to extend the maturity date on a Preferred Income

  note to December 20, 2015. Deutsche Bank followed these instructions and facilitated the

  extension of the maturity date.

  259.    Deutsche Bank facilitated the extension of the maturity date on this same note at least two

  more times. In December 2016 Deutsche Bank facilitated the extension of the maturity date to

  December 20, 2017. And in July 2017, Deutsche Bank received an instruction to restructure the

  note, once again facilitating the extension of the maturity date, this time to June 20, 2022.

  260.   Similarly, Deutsche Bank facilitated the extension of the maturity date on Diversified Real

  Estate notes on multiple occasions. Deutsche Bank facilitated the modification of the terms of one

  note in March 2015, which extended the maturity date from March 21, 2016 to February 28, 2018.

  261.   Deutsche Bank also facilitated the modification of the terms of a second Diversified Real

  Estate note in August 2016, which extended the maturity date from August 31, 2016 to November

  30, 2016. This occurred once again in November 2016, this time extending the maturity date to

  February 28, 2017. And, in July 2017, Deutsche Bank received instructions to restructure the note,

  this time extending the maturity to March 1, 2022.




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  262.   Additionally, on at least four different occasions, Deutsche Bank facilitated the increase of

  the issue amount on notes.

  263.   For example, in March of 2014, Deutsche Bank advised Biscayne Capital S.A.—which is

  ultimately owned by Biscayne Capital Holdings and Biscayne Capital (B.V.I.)—that the cap of

  $25,000,000 on a Global Market Step Up note had been exceeded. Yetton wrote to an employee

  of Biscayne Capital S.A., “It’s been brought to my attention that the note for this deal is ‘up to

  $25,000,000’ and that has been breached, current outstanding amount is $26,165,000. Was [sic]

  you aware of this?”

  264.   Trujillo then asked SGG Group to send instructions to Deutsche Bank to increase the

  amount to $30,000,000, and sent Yetton an email notifying him that he “should be receiving the

  confirmation to increase the limit for [the note] to 30MM today….” Deutsche Bank followed these

  instructions and facilitated the increase of the issue amount.

  265.   Just a few months later, in September of 2014, SGG Group sent instructions to increase the

  limit on this same note to $50,000,000. Deutsche Bank once again followed these instructions and

  facilitated the increase of the issue amount.

  266.   Deutsche Bank also facilitated the increase of the issue amount on an SG Strategic note

  and a Preferred income note in 2015—doubling the limit on the SG Strategic note and increasing

  the limit on the Preferred Income note by $5,000,000.

  267.   Contrary to the terms of the offering documents, which were known to Defendants,

  Defendants did not require proof of affirmative consent of the note holders to make these

  modifications. And, to the extent any consent was obtained, it was obtained via methods

  inconsistent with the offering documents. Further, to the extent Defendants sought or received any




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  explanation for the modifications, the explanation was often inconsistent with the nature of the

  modifications.

  E.     The Madison Sub-Accounts

  268.   Defendants failed to adequately investigate Madison, its relationship with the Companies

  and Note Issuers, and transfers into and out of the Madison sub-accounts. Ultimately, these

  accounts were subject to substantial misuse, and though that misuse came to Defendants’ attention,

  they nonetheless continued to facilitate the looting of the accounts at the expense of the Companies

  until Defendants ended their relationships with Madison, the Companies, the rest of the

  Biscayne-related and South Bay-related entities, and the Individual Wrongdoers.

  269.   The sub-accounts Madison established for the Companies—including the Note Issuers—

  were custody accounts, which are, by their nature, accounts to be used for limited purposes.

  270.   Here, the accounts ostensibly existed for—among other things—holding securities,

  providing settlement services for trades of securities like the notes issued by the Note Issuers, and

  providing services related to the advance of sale or redemption proceeds on such securities.

  271.   In short, the nature of these accounts meant they were not to be used for purposes outside

  of custody and clearing services. They were not, for example, intended to function as cash accounts

  through which entities would cover costs such as fees for professional services providers, distribute

  profit to principals, or fund day-to-day business operations.

  272.   Despite this, the Individual Wrongdoers—acting through their management of Madison—

  treated these sub-accounts as though they were one omnibus account and used them for purposes

  other than custody and clearing.




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  273.   In fact, Madison even asked Deutsche Bank to view the accounts as one single account,

  explaining to Deutsche Bank that even when some accounts were overdrawn, it “had enough

  between all accounts if you consider ourself as one relationship.”

  274.   Deutsche Bank also facilitated the use of the Madison sub-accounts as cash, rather than

  custody accounts, transferring funds to hundreds of third parties rather than only to other Madison

  accounts or other counterparties to securities transactions.

  275.   In May 2016, Deutsche Bank employees even circulated a report identifying unusual

  activity from the Madison sub-accounts not related to any securities or settlement function,

  including wires to individual beneficiaries and an American Express Payment.

  276.   Substantially all the proceeds from issuance of new notes were deposited into these

  custodial accounts.

  277.   Madison had no contractual or other authority to act on behalf of the Note Issuers, and

  Deutsche Bank never took the necessary steps to confirm Madison’s authority or the source of the

  underlying capital.

  278.   Thus, by permitting Madison to access and freely transfer assets of the Note Issuers without

  any authority or authorization to do so, Defendants enabled fraud, theft, and conversion of the

  Companies’ assets by Madison, the Individual Wrongdoers, and others.

  279.   Further, the funds in these accounts were subject to substantial misuse, which came to

  Deutsche Bank’s attention.

  280.   Though Deutsche Bank identified hundreds of wires from the custodial accounts not related

  to custodial activity as early as January 2016, the activity persisted unabated for months, even after

  internal Deutsche Bank communications confirmed Deutsche Bank had drawn connections

  between Madison and Biscayne and related suspicious activity.




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         i.          Deutsche Bank Guided Madison on How to Open Unauthorized Custody Accounts.

  281.        In 2014, Madison, through Trujillo, opened custodial sub-accounts at Deutsche Bank in

  the name of each of the Note Issuers.

  282.        Deutsche Bank assisted Trujillo by working directly with him to open these accounts,

  despite both Madison’s and Trujillo’s lack of authority to act on the Note Issuers’ behalf.

  283.        Although Deutsche Bank was to act as a custodian for Madison, and Madison purported to

  act as a custodian for the Note Issuers, Deutsche Bank did not seek to make the Note Issuers a

  party to a custodial agreement and failed to require proof that Madison was authorized to act as a

  custodian for the Note Issuers. To the contrary, Deutsche Bank possessed the documentation

  identifying who was authorized to hold and receive custody of the Note Issuers’ assets, and it was

  not Madison.

  284.        Notwithstanding this knowledge, Deutsche Bank required that a custody agreement be

  signed only between Deutsche Bank and Madison Asset LLC, Biscayne Capital Bahamas, and

  Biscayne Capital BVI, not any Note Issuer.

  285.        Madison lacked authority to open these accounts and could not have done so without the

  direct aid and guidance from Deutsche Bank. In fact, in 2017 the Note Issuer’s director wrote to

  Trujillo asking how he could have managed to open the accounts without the approval of the

  directors and without signed agreements:




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  286.   Deutsche Bank’s assistance did not stop there.

  287.




  288.



  289.




  290.




  291.



  292.



  293.




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  294.   For example, Deutsche Bank’s account opening procedures also required a submission of

  an anti-money laundering affidavit, sometimes referred to as an “AML affidavit.”

  295.   Anti-money laundering affidavits and other “Know Your Customer” efforts are required,

  as a matter of law and bank policy, to prevent financial institutions from participating in money

  laundering and other forms of fraud and to enable financial institutions to work with government

  and regulators to prevent and detect such activity.4

  296.   Although Deutsche Bank purported to be “committed to the highest standards of

  Anti-Money Laundering,”5



  297.



  298.




  299.




  4
    “Criminals have long used money laundering schemes to conceal or ‘clean’ the source of
  fraudulently obtained or stolen funds” and “banks play an important role in helping investigative
  and regulatory agencies identify money-laundering entities and take appropriate action.” Office
  of the Comptroller of the Currency, https://www.occ.treas.gov/topics/supervision-and-
  examination/bank-operations/financial-crime/money-laundering/index-money-laundering.html
  5
    https://www.db.com/files/documents/Excerpt-of-globally-applicable-Anti-Money-Laundering-
  and-Anti-Financial-Crime-Standard.pdf.

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         ii.     After Assisting Madison with Opening the Unauthorized Accounts, Deutsche Bank
                 Kept the Accounts Open Despite Knowledge of Improper Use.

  300.



  301.   Deutsche Bank knew of this activity, including information about hundreds of beneficiaries

  of improper wires from the custodial accounts, knowledge that a majority of those wires were not

  related to the activity in the accounts, and knowledge of persistent account overdrafts.

  302.   Despite this knowledge, Deutsche Bank repeatedly looked away, perpetuating the fraud.

                 a.      Deutsche Bank Began Investigating Account Activity but Looked Away
                         When Instructed by Biscayne Capital to Stop Asking Questions.

  303.   For example, in a 2015 email exchange between Markus Wiessler, Vice President at

  Deutsche Bank (Suisse), and Luciana Fernandez, an employee of Biscayne, Wiessler questioned

  Fernandez about the source of funds sent from a Madison account.

  304.   Fernandez responded that the Note Issuer who would be sending money had a Madison

  sub-account and, for that reason, the money was being sent from the Madison account.

  305.   In response, Wiessler continued to raise additional concerns and ask more questions about

  the source of the funds.

  306.   Fernandez eventually responded by instructing Wiessler, the Deutsche Bank employee, to

  stop making inquiries and to move forward with crediting the funds at issue.

  307.   Fernandez, the Biscayne employee, had no authority to require a Deutsche Bank employee

  to stop asking questions about a transaction Deutsche Bank was to execute.

  308.   Deutsche Bank nonetheless acquiesced and credited the funds as instructed by Fernandez,

  despite Wiessler’s concerns and despite the troubling demand to stop making inquiries.




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                 b.      Emails Establish That Deutsche Bank Employees Knew That a Majority of
                         the Wires Were Not Related to Activity in the Custody Accounts and That
                         There Were Persistent Account Overdrafts.

  309.   Wiessler’s inquiries were not the only time Deutsche Bank employees raised concerns

  about the activities in the Madison custody accounts, nor was it the only time employees looked

  away, assisting in the fraud’s continuation.

  310.   On January 19, 2016, Scott Habura, an employee of Deutsche Bank New York, wrote to

  Trujillo that his team had “again” brought to his attention issues concerning the accounts, including

  that a majority of the wires were not related to custody activity in the accounts. The email read:




  311.   Then, on February 8, 2016, Patrick Hannon, another Deutsche Bank employee, replied to

  that same email chain requesting an update and writing, “The activity is persistent and we shouldn’t

  continue to process such activity unrelated to trade settlement.”




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  312.   On February 18, 2016, Habura told Trujillo that the issue had been flagged by risk and

  compliance and that Deutsche Bank could no longer process wires unrelated to securities activity:




  313.   Then, on February 23, 2016, Habura once again followed up with Trujillo on the issue,

  advising Trujillo that if the issues in the account were not cleared, action would be taken:




  314.   Despite these warnings, Deutsche Bank did nothing.




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  315.   Instead, despite its on-going knowledge of misuse of funds within the accounts, and despite

  persistent concerns and warnings from its employees, Deutsche Bank continued to allow and

  facilitate the use of the accounts, perpetuating the fraud.

  316.   Months later, Hannon once again raised issues with the accounts. On May 17, 2016, in

  response to internal cash and wire reports for Madison and internal wire reports for Biscayne

  Bahamas, Hannon wrote:




         iii.    Even After One Deutsche Bank Branch Finally Closed Problematic
                 Biscayne-Related Accounts, Another Deutsche Bank Branch Was Still Willing to
                 Take Over These Same Accounts.

  317.    Throughout 2016, Deutsche Bank Suisse sent multiple communications to Biscayne

  regarding the dissolution of the relationship between Deutsche Bank Suisse and Biscayne.

  318.   One such communication, sent in December 2016 read, “Your clients have received in the

  last 3 months 3 letter [sic] in order to fulfill the requirement of the Bank or send a transfer and

  closing instruction. As of today we have not received any feedback or any instruction . . . we are

  going to forced closure [of the accounts].”

  319.   Even though Deutsche Bank Suisse was moving forward with closing these accounts, a

  Biscayne employee responded to the December email by informing Deutsche Bank Suisse that




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  some of the accounts at issue were going to be transferred to Reynaldo Figueredo of Deutsche

  Bank Trust Companies.

  320.   In fact, Figueredo had been planning on taking over these problematic accounts throughout

  2016 and was working with Biscayne to open additional accounts. Figueredo moved forward with

  these plans even after having notice that Deutsche Bank Suisse planned to end its relationship with

  Biscayne.

  321.   One exchange between Vanessa Simonetti at Deutsche Bank Suisse and Figueredo shows

  that Figueredo was directly informed that Deutsche Bank Suisse planned to end their relationship

  with Biscayne.

  322.   On April 28, 2016, Santiago Trigo of Deutsche Bank Trust Companies responded to

  Simonetti that “Reynaldo [Figueredo] and I have agreed that we will exit this relationship in the

  US; Reynaldo will see the client tomorrow morning and communicate the decision.”

  323.   That, however, is not what happened. Instead, Figueredo continued to pursue these

  relationships to take over the problematic accounts himself at Deutsche Bank Trust Companies.

  324.   An email exchange between Figueredo and Haberer started the very same day Trigo sent

  the above email to Simonetti. In this exchange, Haberer reached out to Figueredo to set up a

  meeting in Miami. After that meeting, Haberer emailed Reynaldo that he sent the information

  discussed during the meeting from a different email for confidentiality purposes. Later in the same

  email chain, Haberer told Figueredo that they had some new accounts to open in New York, and

  asked Figueredo if he could manage them directly.

  325.   About a month later, Figueredo wrote to other Deutsche Bank Trust Companies employees

  explaining a plan to move forward with a relationship with Biscayne and explaining to his team

  that Biscayne received an order to close their accounts at Deutsche Bank Suisse. He explained that




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  Haberer, with whom he said he had a lot of communication, gave him the idea to work together in

  this manner and explained that the accounts would be coded to himself as individual relationships.

  He then explained that Haberer identified eight relationships related to this plan worth $49 million.

  326.    Soon after, a colleague asked Figueredo if they had found a solution to the Biscayne

  relationship. Figueredo responded that he had met with the clients in Buenos Aires, that he

  understood his colleagues agreed with moving forward with the relationship, and that all that

  remained outstanding was to find out if the accounts that were to be transferred to him could be

  coded to him by only updating the KYC and without having to open new accounts.

  327.   Figueredo moved forward with these relationships even though he knew that Deutsche

  Bank Suisse was forcing the closure of the accounts, and even though in September of 2016 he

  received an internal email informing him that he was to send termination letters to 53 of his

  accounts because they were not compliant. One of these accounts was yet another problematic

  Biscayne related account.

  328.   Even though Figueredo, other employees at Deutsche Bank Trust Companies, employees

  at Deutsche Bank Suisse, and other Deutsche Bank employees knew that Deutsche Bank Suisse

  was forcing the closure of problematic Biscayne accounts, Deutsche Bank was still willing to

  continue the relationship related to these very same accounts through another branch.

         iv.     Deutsche Bank Knew of the Underlying Fraud Not Only from its Own Documents,
                 But Also From a 2016 SEC Cease-and-Desist Order.

  329.   In May 2016, the SEC issued a cease-and-desist order that revealed the nature of the

  underlying fraud being perpetrated by the Individual Wrongdoers.

  330.   The order—issued against and with the consent of the Individual Wrongdoers—identified

  conflicts of interest among the Individual Wrongdoers, Biscayne, South Bay, and the Note Issuers.




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  331.   Further, the order indicated that there was insufficient revenue or operating cash to meet

  maturing debt.

  332.   Despite the order, and despite its own inquiries referenced above, Deutsche Bank continued

  to facilitate the misconduct.

  333.   In fact, Trujillo was still able to orchestrate transactions through the Madison accounts into

  November and December of 2016, many months after the SEC order.

               THE MAGNITUDE OF MISAPPROPRIATION AND LOOTING

  334.   Defendants’ decisions to ignore clear evidence of fraud and suspicious activity, to turn a

  blind eye toward other obvious irregularities, and



  enabled the Individual Wrongdoers to misappropriate and loot the Companies for years on a

  massive scale. Indeed, Deutsche Bank profited by enabling and assisting this conduct because of

  its fee structure and the money it earned as a result of the fraudulent scheme.

  335.   The example of one Note Issuer, Global Market Step Up, reveals the enormous damage

  Defendants caused. During the time period Global Market Step Up held accounts with Defendants,

  Defendants’ own records show that $141,262,465.63 flowed into and out of those accounts. Of

  that amount, it appears that only $698,000.00 (less than 0.5%) went to the recipient entities for

  whom the Note Issuers represented they were raising funds. The chart below illustrates the sums

  of inflows and outflows for the life of the Global Market Step Up sub-account with Deutsche Bank.




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  336.   Of the more than $134 million that went to destinations other than Deutsche Bank and the

  intended recipients of note proceeds, a staggering $104,259,459.46 was transferred into the

  accounts of other Note Issuers. This amount reflects efforts to repay existing debt to prop up the

  scheme. And over $17 million flowed into other entities controlled, managed, or owned by the

  Individual Wrongdoers. Over $2.1 million (approximately three times as much as went to the

  intended recipient entities) was used to pay bribes to government officials in Latin America.

  Another $3.5 million went to the Biscayne-named entities.

  337.   The chart below illustrates the sums of inflows and outflows from the Global Market Step

  Up for just one month, April 2016.




  338.   Even though over $14.5 million flowed through accounts with Defendants during that one

  month, less than 1% went to an intended recipient of the note recipients.

  339.   Almost $10 million (68%) of the $14 million was transferred to the accounts of other Note

  Issuers, repaying existing debt to prop up the scheme.




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  340.   In short, had Deutsche Bank investigated earlier, these indicia of fraud would have been

  obvious well before the scheme collapsed in July 2018.

  341.   Unfortunately, the enormous financial damage created through Global Market Step Up was

  not isolated.

  342.   Another Note Issuer, SG Strategic, provides another example of the enormous damage

  Defendants caused.




  343.   During the time SG Strategic held accounts with Defendants, Defendants’ own records

  show that $278,002,979.49 flowed into and out of those accounts. Of that amount, it appears that

  only $6,723,828.85 (about 1%) went to the recipient entities for whom the Note Issuers represented

  they were raising funds. A total of $193,902,087.99 (almost 32%) was transferred into the accounts

  of other Note Issuers—again effectively repaying existing debt to continue to prop up the scheme.

  Additionally, almost $19 million flowed into other entities controlled, managed, or owned by the

  Individual Wrongdoers. Over $150,000 went directly to the Individual Wrongdoers themselves,

  almost $450,000 was used to pay bribes to government officials in Latin America, and over $22

  million went to Biscayne-named entities.




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  344.   The accounting of the other Note Issuers paints a similar story. During the time that ORC

  (now Diversified Real Estate) held accounts with Defendants, Defendants’ own records show that

  out of the $116,531,665.75 that flowed into and out of those accounts, only $855,000 (less than

  0.5%) went to the recipient entities for whom the Note Issuers represented they were raising funds.




  345.   Similarly, during the time that Preferred Income held accounts with Defendants, the

  Liquidators determined from Defendants’ own records that out of the $78,718,570.96 that flowed

  into and out of those accounts, only $1,301,000.00 (less than 0.5%) went to the recipient entities

  for whom the Note Issuers represented they were raising funds.




  346.   Despite claiming to have rigorous compliance and risk management policies, Defendants

  did nothing to safeguard any of these assets or seriously investigate the multiple indications that

  the Individual Wrongdoers were so wildly misusing the Note Issuers’ funds.

  347.   Defendants also never informed the Note Issuers’ director, through Mr. Oosten or anyone

  else at his company, SGG, of any of the misuse of funds. SGG is a multi-jurisdictional, professional

  group of experienced directors.




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  348.    Had Defendants alerted the Note Issuers’ director or even posed basic questions to the

  director, the fraudulent scheme would have ended years earlier and hundreds of millions of dollars

  in losses could have been avoided.

                                       CLAIMS FOR RELIEF

                            COUNT ONE: FRAUDULENT TRADING
                             (Cayman Islands Companies Law § 147)
                                    Against All Defendants

  349.    The Liquidators incorporate the allegations of Paragraphs 1 through 348 of their complaint

  as if repeated here.

  350.    The Individual Wrongdoers carried out the business of the Note Issuers with the intent to

  defraud creditors and engage in fraudulent transactions. The Individual Wrongdoers did this by

  using proceeds from the notes to pay interest payments and personal expenses, instead of using

  proceeds for their stated purpose. Additionally, the Individual Wrongdoers engaged in the swap

  transactions, which were used to avoid millions of dollars in pending maturity obligations. The

  Individual Wrongdoers also relied on the re-tap transactions to cover interest payments on existing

  debt.

  351.    Defendants were also knowingly a party to the scheme to defraud creditors because

  Defendants provided substantial assistance to the Individual Wrongdoers and their co-conspirators

  by aiding them in opening the unauthorized sub-accounts.




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  352.    Defendants were knowingly a party to the scheme to defraud creditors because Defendants

  facilitated the swap transactions despite knowing that this would result in the Individual

  Wrongdoers’ avoidance of millions of dollars in pending maturity obligations and despite knowing

  that these transactions were inconsistent with the offering documents provided to the bank.

  Defendants also facilitated the re-tap transactions which were used by the Individual Wrongdoers

  pay off interest payments and continue their scheme.

  353.    The Note Issuers were damaged as a result of Defendants’ assistance with this fraudulent

  activity.

  354.    Defendants should be liable to the Liquidators for a contribution to the assets of the

  Companies’ estates for distribution to their creditors.

         COUNT TWO: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                             Against All Defendants

  355.    The Liquidators incorporate the allegations of Paragraphs 1 through 354 of their complaint

  as if repeated here.

  356.    The Individual Wrongdoers and Madison breached their fiduciary duty to the Note Issuers

  through the perpetration of the underlying scheme.

  357.    Defendants knew that the Individual Wrongdoers and Madison were in breach of their

  fiduciary duty. As described above, Defendants knew, among other things, that: (1) the Individual

  Wrongdoers engaged in three separate swap transactions, whose nature was inconsistent with the

  offering documents Defendants had in its possession; (2) Madison had no authority to open

  custody accounts in the name of each Note Issuer; (3) there was improper activity within the

  custody accounts including numerous wires unrelated to the custody activity; (4) interest payments

  on notes were consistently late and therefore in breach of the Agency Agreements; and (5) the




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  Individual Wrongdoers relied on improper re-tap transactions in order to cover interest payments

  on existing debt.

  358.   Defendants provided substantial assistance to the Individual Wrongdoers in their breach of

  fiduciary duty by, among other things, facilitating the swap transactions despite knowing that this

  would result in the Individual Wrongdoers’ avoidance of millions of dollars in pending maturity

  obligations and despite knowing that these transactions were inconsistent with the offering

  documents provided to Defendants.

  359.   Defendants also provided substantial assistance to the Individual Wrongdoers by aiding

  them in opening the unauthorized sub-accounts.




  360.   Defendants’ aiding and abetting the Individual Wrongdoers in their breach of fiduciary

  duty proximately caused damages to the Companies.

                         COUNT THREE: BREACH OF FIDUCIARY DUTY
                                   Against Deutsche Bank

  361.   The Liquidators incorporate the allegations of Paragraphs 1 through 360 of their complaint

  as if repeated here.

  362.   Deutsche Bank had a fiduciary relationship with and owed fiduciary duties to the

  Companies that arose through the Agency Agreements, which designated the bank as the

  Companies’ agent, granted the bank broad authority to act on behalf of the Companies, and did

  not circumscribe or effectively limit that agency relationship.




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  363.   Deutsche Bank breached its fiduciary duties by, among other things, facilitating the swap

  transactions, by repeatedly accepting late payments, and by facilitating the re-tap transactions.

  364.




  365.   As a proximate result of Deutsche Bank’s breach of its duties, the Companies have been

  damaged.

                   COUNT FOUR: AIDING AND ABETTING CONVERSION
                                Against All Defendants

  366.   The Liquidators incorporate the allegations of Paragraphs 1 through 365 of their complaint

  as if repeated here.

  367.   The Individual Wrongdoers converted hundreds of millions of dollars from the Note

  Issuers through their fraudulent scheme.

  368.   Defendants knew that the Individual Wrongdoers had converted millions of dollars. As

  described above in Count One, Defendants knew, among other things, that: (1) the Individual

  Wrongdoers engaged in three separate swap transactions, whose nature was inconsistent with the

  offering documents Defendants had in their possession; (2) Madison had no authority to open

  custody accounts in the name of each Note Issuer; (3) there was improper activity within the

  custody accounts including numerous wires unrelated to the custody activity; (4) interest payments

  on notes were consistently late and therefore in breach of the Agency Agreements; and (5) the

  Individual Wrongdoers relied on improper re-tap transactions in order to cover interest payments

  on existing debt.

  369.   Defendants provided substantial assistance to the Individual Wrongdoers in their

  conversion by, among other things, facilitating the swap transactions despite knowing that this


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  would result in the Individual Wrongdoer’s avoidance of millions of dollars in pending maturity

  obligations and despite knowing that these transactions were inconsistent with the offering

  documents provided to Defendants.

  370.   Defendants also provided substantial assistance to the Individual Wrongdoers by aiding

  them in opening the unauthorized sub-accounts.




  371.   Defendants aided and abetted the Individual Wrongdoers and their co-conspirators in their

  conversion, and in doing so, proximately caused damages to the Companies.

                           COUNT FIVE: BREACH OF CONTRACT
                                  Against Deutsche Bank

  372.   The Liquidators incorporate the allegations of Paragraphs 1 through 371 of their complaint

  as if repeated here.

  373.   Deutsche Bank entered into a valid, binding, and enforceable Agency Agreement with each

  of the Note Issuers.

  374.   Pursuant to these agreements Deutsche Bank would facilitate the issuance of the notes by

  the Note Issuers, as well as the periodic payment of principal and interest on the Notes.

  375.   According to the Agency Agreements, Deutsche Bank was not to carry out an instruction

  in circumstances where the bank had reasonable grounds to believe that the instruction was part of

  a scheme to defraud the Note Issuers.




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  376.   However, Deutsche Bank repeatedly accepted late interest payments, facilitated the swap

  despite knowing this would result in the Individual Wrongdoer’s avoidance of millions of dollars

  in pending maturity obligations, and facilitated the re-tap transactions which assisted the Individual

  Wrongdoers with covering interest payments on existing debt.

  377.   Additionally, the Agency Agreements required Deutsche Bank to notify the director of a

  Note Issuer if any payment was late.

  378.   However, instead of giving notice to the proper party, Deutsche Bank gave notice to

  Trujillo, which allowed the Individual Wrongdoers to continue their scheme without notice to the

  director of the Note Issuers.

  379.   In addition, pursuant to the Agency Agreements Deutsche Bank was authorized to accept

  payments of the notes only in currency. In breach of this term of the contracts, Deutsche Bank

  allowed the Individual Wrongdoers to repay notes in kind with newly issued notes. Each such

  breach by Deutsche Bank increased the liabilities of the Note Issuers and the ensuing losses.

  380.   The Note Issuers were damaged as a result of Deutsche Bank’s breach of the Agency

  Agreements.

                                      COUNT SIX: NEGLIGENCE
                                        Against Deutsche Bank

  381.   The Liquidators incorporate the allegations of Paragraphs 1 through 380 of their complaint

  as if repeated here.

  382.   Deutsche Bank owed the Note Issuers a duty of ordinary and reasonable care applicable to

  banks and financial institutions.

  383.   Deutsche Bank breached its duty of care by, among other things, facilitating the swap

  transactions,

           by creating accounts for the Note Issuers without making the Note Issuers a party to the


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  relevant agreements, by instructing the Individual Wrongdoers in how to avoid the bank’s own

  policies and assisting them in transferring the Note Issuers’ assets into the Madison sub-accounts,

  and by facilitating the re-tap transactions.

  384.   The Note Issuers were damaged as a direct and proximate result of Deutsche Bank’s

  negligence.

         COUNT SEVEN: VIOLATION OF THE FLORIDA CIVIL REMEDIES FOR
                         CRIMINAL PRACTICES ACT
                            Against All Defendants

  385.   The Liquidators incorporate the allegations of Paragraphs 1 through 384 of their complaint

  as if repeated here.

  386.   Defendants violated Florida’s Civil Remedies for Criminal Practices Act, FLA. STAT.

  §§ 772.101-772.19, by committing, conspiring to commit, or endeavoring to commit a pattern of

  criminal activity and by associating with an enterprise to conduct or participate in a pattern of

  criminal activity.

  387.   For purposes of this Count, the Liquidators allege that Defendants (a) acted with the

  knowledge and intent required to violate the criminal statutes identified in the pattern of criminal

  activity described below and/or (b) were willfully blind or deliberately ignorant of their

  association with the pattern of criminal activity described below.

                                             The Enterprise

  388.   Defendants have committed a pattern of criminal activity through their participation in an

  association-in-fact enterprise composed of the persons and entities described above, all so that

  the Individual Wrongdoers could utilize the Companies, and in particular the Note Issuers, to

  solicit funds from innocent investors in the form of note issuances, and then steal those funds




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  from the Companies instead of using the funds for their intended purpose and for the benefit of

  the Companies and the investors who purchased the notes.

  389.   The members of the enterprise played specific roles in the issuance of notes and the

  distribution of the proceeds of those issuances, as described above. Defendants exercised their

  authority with respect to these note issuances pursuant to their written agreements with the Note

  Issuers and/or Defendants’ course of dealing with the Companies and the Individual

  Wrongdoers. In some instances, Defendants performed actions themselves as part of the

  enterprise, while in other instances, as described above, they followed the instructions of other

  members of the enterprise or gave instructions to other members of the enterprise. Accordingly,

  Defendants had the ability to direct and did direct other members of the enterprise.

  390.   Regardless of the specific entity that played any particular role in any particular note

  issuance transaction, these roles were well-defined, established, and accepted by the members of

  the enterprise. As alleged above, each of these roles was essential to the note issuance process,

  and the enterprise maintained this structure and hierarchy to conduct numerous note issuances,

  and distribute the proceeds of those issuances, over a period of many years.

  391.   The enterprise included at least the following entities and individuals that typically

  played the following role’s in the note issuance process:

  (a)    The Individual Wrongdoers, who each purported to act on behalf of the Companies, and

  conspired with each other and the other members of the enterprise to misuse the Note Issuer

  entities to enrich themselves by engaging in the swap transactions, re-tap transactions, and the

  other conduct described above;

  (b)    Madison, which worked with the Individual Wrongdoers and other members of the

  enterprise to perpetuate the enterprise by moving the investment advisor for the Note Issuers off-




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  shore to evade the SEC’s jurisdiction and inquiry and to utilize the sub-accounts at Deutsche

  Bank to loot the proceeds of the note issuances;

  (c)    Trujillo, who acted on Madison’s behalf as part of the enterprise; and

  (d)    Defendants, which fulfilled numerous roles in the enterprise as described above,

  including providing banking and custody account services with knowledge of the illegal use of

  those services and/or a blind eye toward manner in which their services were used and




  392.   Defendants and the other members of the enterprise shared the common purpose of

  obtaining pecuniary gain, including money, in connection with the note issuance transactions.

  393.   Defendants participated in the enterprise by, among other things, facilitating the issuance

  of fraudulent notes, collecting and distributing the proceeds of those note issuances, advising

  other members of the enterprise as to how they could evade detection of their wrongdoing, and

  earning fees from the activities of the enterprise and its other members.

  394.   The association in fact between the members of the enterprise constitutes an association-

  in-fact enterprise pursuant to FLA. STAT. § 772.102(3).

                                   The Pattern of Criminal Activity

  395.   Defendants engaged in a pattern of criminal activity consisting of two or more separate

  and distinct incidents of criminal activity. Defendants engaged in this pattern of criminal activity

  over several years and in connection with numerous similar note issuance transactions. The

  incidents of criminal activity include, but are not limited to, those set forth below:




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         a.      Theft (FLA. STAT. § 812.014)

  396.   On two or more occasions Defendants, individually and as parties to the crime,

  committed, attempted to commit, or endeavored to commit acts involving theft.

  397.   As alleged above, Defendants repeatedly assisted the Individual Wrongdoers in raising

  funds from investors through note issuances and then distributed the proceeds of those issuances

  to individuals and entities who were not entitled to the use of those proceeds, instead of directing

  the proceeds of the issuances to the Companies who were their intended recipients.

  398.   Defendants also knowingly and intentionally assisted the Individual Wrongdoers and

  Madison in improperly and illegally transferring the Note Issuers’ and Companies’ assets into

  the Madison sub-accounts.

  399.   The proceeds of the note issuance transactions and the cash and securities in the

  Companies’ accounts with Defendants constitute property within the meaning of FLA. STAT.

  § 812.012(4)(b).

  400.   Defendants’ violations of FLA. STAT. § 812.014 constitute criminal activity pursuant to

  FLA. STAT. § 772.102(1)(a)(20).

         b.      Bank Fraud (18 U.S.C. § 1344)

  401.   On two or more occasions Defendants, individually and as parties to the crime, conspired

  with the Individual Wrongdoers to execute a scheme or artifice to obtain money, funds,

  securities, or other property under the custody or control of a financial institution, by means of

  false or fraudulent pretenses or representations.

  402.   Defendants’ violations of 18 U.S.C. § 1344 constitute criminal activity pursuant to FLA.

  STAT. § 772.102(1)(b) and 18 U.S.C. § 1961(1).




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          c.      Laundering of Monetary Instruments (18 U.S.C. § 1956)

  403.    On two or more occasions Defendants, individually and as parties to the crime, conspired

  with the Individual Wrongdoers, Trujillo, and Madison, and committed acts involving the

  laundering of monetary instruments, including but not limited to conducting financial

  transactions involving the proceeds of some form of unlawful activity knowing that the

  transaction was designed in whole or part to conceal or disguise the nature, source, ownership, or

  control of the proceeds of specified unlawful activity in violation of 18 U.S.C.

  § 1956(a)(1)(B)(i).

  404.    Defendants’ violations of 18 U.S.C. § 1956(a)(1)(B)(i) constitute criminal activity

  pursuant to FLA. STAT. § 772.102(1)(b) and 18 U.S.C. § 1961(1).

          d.      Bribery and Violations of the Foreign Corrupt Practices Act (15 U.S.C. §
                  78dd-2)

  405.    On two or more occasions Defendants, individually and as parties to the crime, conspired

  with the Individual Wrongdoers, and committed acts involving willfully and corruptly making an

  offer, payment, promise to pay, and authorization of the payment of money and other things of

  value, to a foreign official or to a person, while knowing that all or part of such money or thing

  of value would be and had been offered, given, or promised to a foreign official, for purposes of

  (i) influencing acts and decisions of such foreign official in his or her official capacity; (ii)

  inducing such foreign official to do and omit to do acts in violation of the lawful duty of such

  official; (iii) securing any improper advantage; and (iv) inducing such foreign official to use his

  or her influence with a foreign government and agencies and instrumentalities thereof to affect

  and influence acts and decisions of such government and agencies and instrumentalities, in order

  to assist the Individual Wrongdoers and others in obtaining and retaining business for and with,

  and directing business to the Individual Wrongdoers and others.



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  406.   For example, Chatburn, who was indicted for money laundering and violations of the

  Foreign Corrupt Practices Act, made payments from the Companies’ accounts at Deutsche Bank

  to entities involved in the PetroEcuador bribery and Foreign Corrupt Practices Act scandal.

  These funds should not have been used for these purposes, and the Companies were injured by

  reason of these transactions.

  407.   Defendants’ violations of 18 U.S.C. § 1956(a)(1)(B)(i) constitute criminal activity

  pursuant to FLA. STAT. § 772.102(1)(b) and 18 U.S.C. § 1961(1)(A).

         The Incidents of Criminal Activity in Which Defendants Participated are Related

  408.   The incidents of criminal activity described above had, among other things, the same or

  similar intents, results, victims, and methods of commission.

  409.   The incidents of criminal activity described above have the same or similar intents in that

  their purpose was to enrich Defendants and the Individual Wrongdoers at the expense of the

  Companies and the investors who purchased notes.

  410.   The incidents of criminal activity described above have the same or similar results, in that

  Defendants and the Individual Wrongdoers actually obtained personal property, including but not

  limited to the Companies’ money, through illegal means.

  411.   The incidents of criminal activity described above have the same or similar victims: the

  Companies and their investors who purchased notes as part of the note issuance transactions.

  412.   The methods by which Defendants committed and participated in the incidents of

  criminal activity were the same or similar, including by way of example and not limitation,

  distributing the proceeds of note issuance transactions contrary to the relevant offering

  documents for those transactions.




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  413.    The incidents of criminal activity described above are interrelated by distinguishing

  characteristics and are not isolated incidents. The incidents involve the same or similar methods

  of commission, the same or similar benefits to Defendants, and the same or similar injuries to the

  Companies.

           Defendants’ Violations of Florida’s Civil Remedies for Criminal Practices Act
                          Proximately Caused Injury to the Companies

  414.    Defendants’ behavior directly targeted the Companies. The Companies’ liabilities for the

  note issuance transactions and the theft of the proceeds of those transactions were controlled and

  known to Defendants, who played an active and integral part in the transactions. As a result, the

  Companies injuries flow directly from incidents of criminal activity in which Defendants

  participated that constitute part of a pattern of criminal activity.

  415.    The Companies have been injured by reason of Defendants’ violations of Florida’s Civil

  Remedies for Criminal Practices Act, and the Liquidators are entitled to recover threefold the

  actual damages the Companies have sustained pursuant to FLA. STAT. § 772.104(1).

  416.    Pursuant to FLA. STAT. § 772.185, the Liquidators are entitled to an award of their

  attorney’s fees that shall be taxed as costs.

    COUNT EIGHT: VIOLATION OF FLORIDA’S CIVIL REMEDIES FOR THEFT OR
                            EXPLOITATION STATUTE
             Against Deutsche Bank and Deutsche Bank Trust Companies

  417.    The Liquidators incorporate the allegations of Paragraphs 1 through 416 of their

  complaint as if repeated here.

  418.    The Companies have been injured by reason of violations of Florida’s theft statutes, FLA.

  STAT. §§ 812.012-812.037.

  419.    Deutsche Bank and Deutsche Bank Trust Companies are liable to the Liquidators

  pursuant to Florida’s Civil Remedy for Theft or Exploitation statute, FLA. STAT. § 772.11,



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  because they were actually aware that the Individual Wrongdoers and Madison were violating

  one or more of Florida’s theft statutes, FLA. STAT. §§ 812.012-812.037, and Deutsche Bank and

  Deutsche Bank Trust Companies assisted and conspired with the Individual Wrongdoers and

  Madison to accomplish those violations of Florida’s theft statutes.

  420.   There is clear and convincing evidence to support the allegations of this Count.

  421.   The Liquidators have timely made the statutory demand required by FLA. STAT.

  § 772.11(1) and Deutsche Bank and Deutsche Bank Trust Companies have not complied with

  that demand.

  422.   The Liquidators are entitled to recover threefold the actual damages the Companies have

  sustained pursuant to FLA. STAT. § 772.11(1).

  423.   Pursuant to FLA. STAT. § 772.11(1), the Liquidators are entitled to an award of their

  attorney’s fees and court costs in the trial and appellate courts.

               STATEMENT OF RELIANCE ON FOREIGN SOURCES OF LAW

         Pursuant to Federal Rule of Civil Procedure 44.1, the Liquidators give notice that this

  complaint raises issues of foreign law, including that of the Cayman Islands and the United

  Kingdom, with respect to certain of the claims alleged in the complaint. The Liquidators reserve

  the right to rely on and utilize any source to prove and resolve any issues of foreign law in

  accordance with the Federal Rules of Civil Procedure.

                                           JURY DEMAND

         The Liquidators demand a trial by jury at to all claims they have asserted in this

  complaint.




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                                         RELIEF SOUGHT

         The Liquidators respectfully request that a judgment be entered in their favor against

  Defendants for the following relief:

                 a. Damages, including where applicable treble damages;

                 b. A contribution to the Companies pursuant to Section 147 of the Cayman

                    Islands Companies Law;

                 c. Pre-judgment interest to the maximum extent provided by any applicable law;

                 d. Post-judgment interest;

                 e. Attorney’s fees and expenses of litigation; and

                 f. Any such other relief the Court deems just and proper at law or in equity.

         Respectfully submitted this 6th day of July, 2021.

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